               Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 1 of 19

                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 M.G.U.                   E.F.                        A.P.F.                       §
  300 El Rancho Way        8915 Montana Ave.           27991 Buena Vista Blvd.     §
  Dilley, TX 78017         El Paso, TX 79925           Los Fresnos, TX 78566       §
                                                                                   §
                                                                                   §
         Plaintiffs,                                                               §
                                                                                   §   Civil Action No.
 v.                                                                                §
                                                                                   §   18-cv-
                                                                                   §
 Kirstjen Nielsen        Thomas Homan                 Daniel A. Bible              §
  245 Murray Ln. S.W.      500 12th St. S.W.           1777 N.E. Loop 410 Fl. 15   §
  Washington, D.C. 20528 Washington, D.C. 20536        San Antonio, TX 78217       §
 Rodney S. Scott         Kevin K. McAleenan           Manuel Padilla, Jr.          §
  2411 Boswell Rd.         1300 Pennsylvania Ave. N.W. 4400 S. Expy. 281           §
  Chula Vista, CA 91914    Washington, D.C. 20229      Edinburg, TX 78542          §
 Scott Lloyd             Alex Azar                    Robert L. Boatright          §
  330 C St. S.W.           200 Independence Ave. S.W. 300 E. Madrid St.            §
  Washington, D.C. 20201 Washington, D.C. 20201        Marfa, TX 79843             §
 William Joyce                                                                     §
  11541 Montana Ave. Ste E                                                         §
  El Paso, TX 79936                                                                §
                                                                                   §
 U.S. Department of Homeland Security                                              §
  245 Murray Ln. S.W.                                                              §
  Washington, D.C. 20528                                                           §
                                                                                   §
 U.S Immigration and Customs Enforcement                                           §
  500 12th St. S.W.                                                                §
  Washington, D.C. 20536                                                           §
                                                                                   §
 U.S Customs and Border Protection                                                 §
  1300 Pennsylvania Ave. N.W.                                                      §
  Washington, D.C. 20229                                                           §
                                                                                   §
 U.S. Department of Health & Human Services                                        §
  200 Independence Ave. S.W.                                                       §
  Washington, D.C. 20201                                                           §
                                                                                   §
 U.S. Office of Refugee Resettlement                                               §
  330 C St. S.W.                                                                   §
  Washington, D.C. 20201                                                           §
                                                                                   §
         Defendants.                                                               §


COMPLAINT SEEKING PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 2 of 19



                                        INTRODUCTION

1.     This lawsuit challenges the federal government’s recent decision to indefinitely separate

immigrant parents from their young children. The government’s separation policy is designed,

intended, and administered as a means of deterring all immigration, even legal immigration by

those with a right to seek asylum. This is punishment, it interferes with family integrity, and it

interferes with access to courts, all of which our Constitution’s Fifth Amendment does not allow.

Families naturally experience forced separation as torture and they urge this Court to stop it.

                                            PARTIES

2.     Plaintiff M.G.U. is an individual who is a citizen of Guatemala and is presently detained

by Defendants near Pearsall, Texas after Defendants forcibly separated her from her three

biological children whose ages are 2, 6, and 13.

3.     Plaintiff E.F. is an individual who is a citizen of Guatemala and is presently detained by

Defendants near El Paso, Texas after Defendants forcibly separated her from her 9-year-old

biological son.

4.     Plaintiff A.P.F. is an individual who is a citizen of Honduras and is presently detained by

Defendants near Los Fresnos, Texas after Defendants forcibly separated him from his 12-year-

old biological daughter.

5.     Defendant U.S. Department of Homeland Security (“DHS”) is a department of the

executive branch of the U.S. government that is responsible for enforcing federal immigration

laws, overseeing lawful immigration to the United States, and screening of asylum applicants.

6.     Defendant U.S. Immigration and Customs Enforcement (“ICE”) is a component of DHS.

ICE is the principal investigative arm of DHS and is charged with criminal and civil enforcement

of federal immigration laws. ICE’s primary duties include the investigation of persons suspected



                                                   2
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 3 of 19



to have violated the immigration laws and the apprehension, detention, and removal of people

who are not lawfully present in the United States.

7.     Defendant U.S. Customs and Border Protection (“CBP”) is a component of DHS. CBP is

responsible for the initial processing and detention of people without lawful immigration status

who CBP apprehends near the U.S. border.

8.     Defendant U.S. Department of Health and Human Services (“HHS”) is a department of

the executive branch of the U.S. government that is responsible for administering a broad range

of programs addressing social needs, including care for all persons who meet the definition of

“unaccompanied alien child” stated in 6 U.S.C. § 279(g)(2).

9.     Defendant Office of Refugee Resettlement (ORR) is a component of HHS. ORR is

responsible for care and placement of “unaccompanied” children under § 279(g)(2).

10.    Defendant Kirstjen Nielsen is sued in her official capacity as the Secretary of DHS. In

this capacity, she is charged with enforcing and administering the immigration laws, and

directing all HHS component agencies, including DHS, ICE, and CBP. She has ultimate

authority over all policies, procedures, and practices relating to immigrant detention conducted

by CBP and ICE. She is responsible for ensuring that all detained individuals held in CBP and

ICE custody are detained in accord with law.

11.    Defendant Thomas D. Homan is sued in his official capacity as the Acting Director of

ICE. In that capacity, he has authority over all ICE policies, procedures, and practices relating to

ICE enforcement operations and detention facilities. He is responsible for ensuring that all

people held in ICE custody are detained in accord with law.

12.    Defendant Daniel A. Bible is sued in his official capacity as the Field Office Director of

ICE, San Antonio, Texas. In that capacity, he has direct responsibility for policies, procedures,



                                                 3
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 4 of 19



and practices relating to ICE enforcement operations and detention facilities in the Central South

Texas Area of Responsibility. He is responsible for ensuring that all individuals held in ICE

custody in the Central South Texas Area of Responsibility are detained in accord with law.

13.    Defendant William Joyce is sued in his official capacity as the Acting Field Office

Director of ICE, El Paso, Texas. In that capacity, he has direct responsibility for policies,

procedures, and practices relating to ICE enforcement operations and detention facilities in the

West Texas and New Mexico Areas of Responsibility. He is responsible for ensuring that all

individuals held in ICE custody in the West Texas and New Mexico Areas of Responsibility are

detained in accord with law.

14.    Defendant Kevin K. McAleenan is sued in his official capacity as the Acting

Commissioner of CBP. In that capacity, he has direct authority over all CBP policies,

procedures, and practices relating to CBP immigration enforcement operations and facilities. He

is responsible for ensuring that the arrest and detention of all individuals by CBP is in accord

with law.

15.    Defendant Rodney S. Scott is sued in his official capacity as the Chief Patrol Agent for

the San Diego Sector of CBP. In that capacity, he has direct responsibility for policies,

procedures, and practices relating to CBP enforcement operations and detention in the San

Diego, California Sector.

16.    Defendant Robert L. Boatright is sued in his official capacity as the Chief Patrol Agent

for the Big Bend Sector of CBP. In that capacity, he has direct responsibility for policies,

procedures, and practices relating to CBP enforcement operations and detention in the Big Bend

Sector of Texas.




                                                 4
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 5 of 19



17.    Defendant Manuel Padilla, Jr. is sued in his official capacity as the Chief Patrol Agent for

the Rio Grande Valley Sector of CBP. In that capacity, he has direct responsibility for policies,

procedures, and practices relating to CBP enforcement operations and detention in the Rio

Grande Valley of Texas Sector.

18.    Defendant Alex Azar is sued in his official capacity as the Secretary of HHS. In that

capacity, he is charged with the care and custody of “unaccompanied” children, including their

reunification with parents. He has ultimate authority over all policies, procedures, and practices

relating to the care and custody of “unaccompanied” children. He is responsible for ensuring

that the care and custody of all “unaccompanied” children in HHS custody is in accord with law.

19.    Defendant Scott Lloyd is sued in his official capacity as the Director of ORR. In that

capacity, he is charged with the care and custody of “unaccompanied” children, including their

reunification with a legal parent or guardian. He is responsible for ensuring that the care and

custody of all “unaccompanied” children in ORR custody is in accord with law.

                                 JURISDICTION AND VENUE

20.    This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. §§

1331 (federal question) and 1346 (federal defendant). This action arises under the U.S.

Constitution.

21.    This Court has authority to grant declaratory relief under 28 U.S.C. §§ 2201 and 2202.

22.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(e) because the defendant

federal agencies are headquartered in this District.

                               INCORPORATED DOCUMENTS

23.    Attached to this Complaint are the following documents, which Plaintiffs incorporate

pursuant to Rule 10(c):



                                                 5
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 6 of 19



            a. DHS’s 2013 policy on respecting parental rights is filed as ECF No. 1-1;

            b. DHS’s 2017 rescission of its policy respecting parental rights is filed as ECF No.

               1-2;

            c. The Attorney General’s 2018 “Zero-Tolerance” directive is filed as ECF No. 1-3;

            d. DHS’s 2018 policy on separating children is filed as ECF No. 1-4;

            e. DHS’s 2018 notice to separated parents is filed as ECF No. 1-5;

            f. The docket from one court for one day, showing standard brief sentences

               imposed, ending prosecutions within days after arrest, is filed as ECF No. 1-6;

               and

            g. American Academy of Pediatrics Policy Statement on Detention of Immigrant

               Children is filed as ECF No. 1-7.

                                     STATEMENT OF FACTS

       A.      Forced Separation Harms Children and Parents

24.    Forced separation of parents from their children causes trauma to both.

25.    The trauma can be severe, and can endanger their physical and mental health.

26.    Each of these factors compounds the trauma of forced separation:

            a. the duration of separation is indefinite, and unknown to parent or child;

            b. the child is young;

            c. parent and child are denied information about one another; and

            d. parent or child have pre-existing trauma.

27.    The American Academy of Pediatrics (AAP) is an association of over 66,000 physicians

who specialize in treating children and training others to do so. AAP concludes that “Separation

of a parent or primary caregiver from his or her children should never occur, unless there are


                                                   6
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 7 of 19



concerns for safety of the child at the hand of a parent.” American Academy of Pediatrics Policy

Statement, Detention of Immigrant Children at 7 (Mar. 13, 2017),

http://pediatrics.aappublications.org/content/139/5/e20170483 (visited June 18, 2018).

       B.      Defendants Made a Policy Choice to Begin Separating Families in Late 2017

28.    Defendants and their predecessor agencies have enforced immigration laws at U.S.

borders for almost a century.

29.    Defendants’ history of immigration law enforcement has included periods when

Defendants apprehended large numbers of noncitizen parents who entered the United States

together with their minor noncitizen children.

30.    Until late 2017, Defendants’ policy was to maintain immigrant families intact as they

enforced immigration laws.

31.    Until late 2017, Defendants committed that “ICE will maintain a comprehensive process

for identifying, placing, monitoring, accommodating, and removing alien parents or legal

guardians of minor children while safeguarding their parental rights.” ICE defined “parental

rights” to mean “[t]he fundamental rights of parents to make decisions concerning the care,

custody, and control of their minor children without regard to the child’s citizenship, as provided

for and limited by applicable law.”

32.    On August 29, 2017, Defendants rescinded the language quoted in the previous

paragraph.

33.    Throughout 2017, Defendants’ leaders and employees began publicly threatening to

begin a policy of separating immigrant families as a means of deterring immigration. See, e.g.,

CNN Interview of DHS Secretary John Kelly at 00:55 to 01:05 (March 7, 2017),




                                                 7
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 8 of 19



https://www.cnn.com/2017/03/06/politics/john-kelly-separating-children-from-parents-

immigration-border/index.html (visited June 18, 2018).

34.    Slowly in late 2017, and more rapidly as 2018 progressed, Defendants began to routinely

separate immigrant parents from their children. See U.S. v. Dominguez-Portillo, No. EP-17-MJ-

4409, 2018 WL 315759 at *1-8 (W.D. Tex. Jan. 5, 2018).

35.    On April 6, 2018, the U.S. Attorney General announced a “zero tolerance” policy for

entering the United States in violation of 8 U.S.C. § 1325(a) and directed the U.S. Department of

Justice to accept for prosecution all referrals of § 1325(a) complaints from ICE and CBP.

36.    Although entering the United States without inspection is a crime under 1325(a), courts

describe it as “quite literally one of the least serious federal offenses.” Dominguez-Portillo, 2018

WL 315759 at *8. Congress defines a first violation of § 1325(a) as a “petty misdemeanor”

punishable by up to six months’ incarceration. 18 U.S.C. § 19.

37.    Judges almost never impose six months’ incarceration for violation of § 1325(a). Instead,

in thousands of § 1325(a) prosecutions every year, the standard sentence for a person with no

criminal or immigration history is “time served,” meaning that the one-to-three days that a

person awaits appearance in court after arrest is the only criminal sanction imposed.

38.    Judges alone decide § 1325(a) sentencing, not Defendants or the Attorney General. 18

U.S.C. § 3553(a)(1). Judges consider need to care for children as part of sentencing. See U.S. v.

King, 201 F. Supp. 3d 167, 171 (D.D.C. 2016).

39.    Defendants and the Attorney General are well aware that almost all § 1325(a)

prosecutions and sentencing will be concluded within days after arrest.

40.    Defendants cite the fact of a § 1325(a) prosecution as a pretext for separating parents

from their children indefinitely.



                                                 8
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 9 of 19



41.    On June 15, 2018, Defendants published a policy stating:

            a. all parents charged with violating § 1325(a) will be separated from their children

               at or near the time of arrest;

            b. the separation will be indefinite;

            c. the anguish that Defendants know that they cause by this separation will be

               addressed by providing mental health services to parents and children;

            d. Defendants do not guarantee that parents will ever be reunited with their children;

            e. if parents wish for further information about their children, they may call or email

               Defendants.

DHS Family Separation Policy (June 15, 2018), https://www.dhs.gov/news/2018/06/15/fact-

sheet-zero-tolerance-immigration-prosecutions-families .

42.    Between November 2017 and June 2018, Defendants have separated roughly two

thousand parents from their children without regard to parental fitness.

43.    Defendants’ change in family separation practice has resulted from changed agency

policy alone, and not from any change in any statute or codified regulation.

       C.      Defendants Forcibly Separated Plaintiffs From Their Children

44.    Defendants currently hold Plaintiffs and their children solely as civil immigration

detainees, and not in association with any criminal charge or conviction.

               (i)     Plaintiff M.G.U.

45.    Defendants forcibly separated Plaintiff M.G.U. from G.V.G., her biological 2-year-old

son, J.V.G., her biological 6-year-old son, and W.M.G., her biological 13-year-old son.

46.    M.G.U. does not currently have sufficient reliable information about where her sons are,

how to contact them, or how they will be reunited.



                                                    9
            Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 10 of 19



47.    The separation and lack of information described in the preceding paragraphs cause

M.G.U. and her sons continuous and severe emotional distress.

48.    M.G.U. and her sons are citizens of Guatemala.

49.    M.G.U. and her sons fled Guatemala after receiving threats of murder due to community

organizing efforts undertaken by M.G.U.’s husband in Guatemala.

50.    In compliance with 8 U.S.C. § 1325, M.G.U., G.V.G., J.V.G., and W.M.G. crossed the

U.S.-Mexico border together and presented themselves to Defendants’ employees at the San

Ysidro, California port of entry on May 4, 2018, and sought asylum under 8 U.S.C. § 1158 due

to their fear of returning to Guatemala.

51.    Defendants’ employees detained M.G.U., G.V.G., J.V.G., and W.M.G., and transferred

them together from California to the South Texas Family Residential Center (STFRC) that

Defendants operate near Dilley, Texas.

52.    On May 18, 2018, M.G.U., G.V.G., J.V.G., and W.M.G. were provided a “credible fear

interview” at STFRC before an Asylum Officer as provided by 8 U.S.C. § 1158.

53.    Within two days after the credible fear interviews, M.G.U. was eating lunch at STFRC

with her 2-year-old and her 6-year-old children. Her 13-year-old ran into the lunchroom and

exclaimed that officers had told him that the entire family was being released and needed to pack

immediately. After the family packed everything from their room at STFRC, they were escorted

STFRC’s intake area, where families are processed for release.

54.    An officer then informed M.G.U. that he had good news and bad news. The good news:

M.G.U. received a positive credible fear determination and her family would be released from

STFRC. The bad news: the family would not be leaving together, and instead were going to be

separated. The officer stated that Defendants intended to take the children and transport them to



                                               10
            Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 11 of 19



New York while M.G.U. would be detained in Texas. M.G.U., G.V.G., J.V.G., and W.M.G. all

burst out in tears, with proverbial weeping and gnashing of teeth.

55.     M.G.U. eventually asked the officers how long the separation would last, and the officers

responded that the separation would last at most a week. The officers stated that a judge needed

to talk to M.G.U.

56.     M.G.U.’s 13-year-old son held her 2-year-old in one arm and held the hand of her 6-year-

old in the other as Defendants’ employees and agents led them away from STFRC at about 2

p.m. on May 18, 2018. This was the last time that MGU has seen any of her children.

57.     M.G.U.’s separation from her sons has already endured for almost a month, and M.G.U.

has never been taken before any judge during this time.

58.     M.G.U. presently has no idea when or how she will be reunited with her children.

59.     Defendants have allowed M.G.U. to speak with her children by telephone once or twice

per week.

60.     When M.G.U. speaks with her children, they express fear, distress, and no understanding

of what the future holds. M.G.U.’s 6-year-old is so overcome with grief that he can say little,

and instead cries during his telephone calls with M.G.U. M.G.U. has only heard the voice of her

2-year-old toddler once since being separated; she has only heard him cry.

61.     M.G.U. worries about her children constantly and is depressed due to her separation from

them.

62.     M.G.U., G.V.G., J.V.G., and W.M.G. are all desperate to be reunited with one another.

               (ii)    Plaintiff A.P.F.

63.     Defendants forcibly separated Plaintiff A.P.F. from C.P.R., his 12-year-old biological

daughter.



                                                11
            Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 12 of 19



64.    A.P.F. does not currently have sufficient reliable information about where C.P.R. is, how

to contact C.P.R., or how they will be reunited.

65.    The separation and lack of information described in the preceding paragraphs cause

A.P.F. and C.P.R. continuous and severe emotional distress.

66.    A.P.F. and C.P.R. are citizens of Honduras.

67.    A.P.F. fled Honduras to the United States after A.P.F. was shot in the shoulder,

producing scars that he still bears today. After A.P.F. returned from the hospital to his home in

Honduras, he received threats that he and his family would be killed.

68.    A.P.F. and C.P.R. crossed the U.S.-Mexico border together in Cameron County, Texas on

June 4, 2018. They were extremely tired and hungry from their journey. They began walking

alongside a road and soon encountered immigration officials. A.P.F. approached the officials

and asked for assistance for himself and his daughter in seeking asylum.

69.    Defendants’ employees arrested A.P.F. and C.P.R. on the spot and drove them to a

processing center in Brownsville, Texas.

70.    Within minutes after A.P.F. and C.P.R. entered the facility, Defendants’ employees

presented A.P.F. and C.P.R. with several documents and indicated on each document where they

should sign, and both A.P.F. and C.P.R. signed the forms together. At no time did anyone

explain what the forms state. A.P.F. still has no idea what the forms state.

71.    After A.P.F. and C.P.R. signed the forms, Defendants’ employees physically separated

A.P.F. from C.P.R. by leading C.P.R. out of the room where A.P.F. sat. Defendants’ employees

did not explain what they were doing. A.P.F. assumed that he would soon be reunited with

C.P.R. and assumed that C.P.R. thought the same thing.




                                                   12
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 13 of 19



72.      Defendants’ employees did not inform APF that he and his daughter would be

indefinitely separated until A.P.F. was transferred to a different detention location near

Brownsville, Texas later on the same day of arrest, June 4, 2018. At that time, the only

information provided to A.P.F. about C.P.R. was that they would be separated indefinitely.

73.      On June 5 or 6, 2018, A.P.F. pleaded guilty in federal court to violating 8 U.S.C. §

1325(a), and a judge sentenced A.P.F. to a term of detention equal to the time that A.P.F. had

previously spent in federal custody known as “time served.”

74.      A.P.F. is currently detained by Defendants’ employees and agents near Los Fresnos,

Texas.

75.      A.P.F. has expressed his fear of returning to Honduras to guards on several occasions and

intends to pursue an application for asylum under 8 U.S.C. § 1158.

76.      A.P.F. has no information from Defendants or anyone else about C.P.R., her well-being,

or her whereabouts.

77.      A.P.F. convulses and cries when he speaks of his daughter and the pain that they both

endure from their separation. He is unable to sleep for worry about his daughter.

                (iii)   Plaintiff E.F.

78.      Defendants forcibly separated Plaintiff E.F. from B.Y.A.F., her 9-year-old biological son,

and her only child.

79.      E.F. does not currently have sufficient reliable information about where B.Y.A.F. is, how

to contact him, or how they will be reunited.

80.      The separation and lack of information described in the preceding paragraphs cause E.F.

and B.Y.A.F.. continuous and severe emotional distress.




                                                 13
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 14 of 19



81.      E.F. and B.Y.A.F. are citizens of Guatemala. They fled Guatemala after being threatened

with violence. E.F. and B.Y.A.F. crossed the U.S.-Mexico border together near Presidio, Texas

on May 14, 2018. The first and only action they took after crossing was to affirmatively search

for immigration officials at a nearby port of entry. They found the officials quickly and asked

for protection. The officials arrested and detained them together.

82.      On May 15, 2018, Defendants’ employees forcibly separated E.F. from B.Y.A.F. amid

much crying and confusion and begging by E.F. and B.Y.A.F.

83.      After B.Y.A.F. was led away, Defendants provided E.F. no information about why they

were separated, how long it would last, how B.Y.A.F. would be cared for, or how they would be

reunited.

84.      On or about May 18, 2018, Defendants’ employees transferred E.F. into the custody of

U.S. marshals at a federal courthouse where, minutes later, E.F. pleaded not guilty to violating §

1325(a) because she affirmatively sought inspection at the border and did not believe that she

evaded inspection.

85.      On June 6, 2018, a record trial was held where E.F. testified about her experience in

fleeing Guatemala and seeking protection in the United States, and in being forcibly separated

from her child.

86.      Upon hearing the evidence, the magistrate pronounced E.F. guilty of violating § 1325(a),

sentenced her to “time served,” closed her criminal case, and returned her to Defendants’

custody.

87.      E.F. is presently held in immigration detention in Texas while she pursues her asylum

claim.




                                                 14
            Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 15 of 19



88.    Now, almost a month after criminal proceedings concluded against her, E.F. is still

unsure where her son is, although she believes that he is in New York. She has been allowed to

speak with him one time since their forced separation.

89.    E.F. has trouble eating and sleeping, and she wakes up crying, for worry about her son.

       D.      Defendants Inflicted Separation as Punishment

90.    The following facts show that Defendants separated Plaintiffs from their children to

punish Plaintiffs.

91.    Defendants had no legitimate reason for forcibly separating Plaintiffs from their children,

for maintaining the separation indefinitely, or for maintaining the separation without providing

sufficient information or contact.

92.    Defendants implemented a practice of not merely separating parents from their children,

but doing so indefinitely and without providing information to family members about one

another, to demonstrate to the world what agony parents should expect if they attempt to enter

the United States with their children.

93.    Defendants expect reports of the agony endured by Plaintiffs and people like Plaintiffs to

deter not only illegal immigration, but also legal immigration from people who have a right to

seek asylum pursuant to 8 U.S.C. § 1158.

94.    The employees and agents who Defendants deploy to interact with parents and children

in immigration detention facilities sadistically tease and taunt parents and children with the

prospect of separation, and do so using words and tones indicating that Defendants’ employees

and agents enjoy the pain and suffering that the very idea of separation causes to parents and

children.




                                                 15
             Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 16 of 19



                                      CAUSES OF ACTION:

95.    All of the foregoing allegations of fact are incorporated as if repeated to support each of

the following two causes of action.

96.    All persons on U.S. soil, including all Plaintiffs and their children, are protected by Due

Process under the U.S. Constitution’s Fifth Amendment.

             COUNT I: Punishment of Civil Detainees in Violation of Due Process

97.    The Constitution’s Fifth Amendment prohibits punishment of immigrants held in civil

detention. Bell v. Wolfish, 441 U.S. 520, 538-39 & n.20 (1979).

98.    At all times after Defendants arrested Plaintiffs and their children, Defendants and their

agents and employees have continuously detained Plaintiffs and their children pursuant to civil

immigration detention statutes or as persons charged with crime awaiting trial. Defendants’ have

never detained Plaintiffs as convicted criminals.

99.    Defendants intend to punish Plaintiffs and their children by taking the following actions:

             a. forcibly separating them;

             b. maintaining separation indefinitely;

             c. failing to provide meaningful information to parents or children about one

                another’s whereabouts and well-being, and anticipated reunification; and

             d. preventing them from reliable and ready access to means of communicating with

                one another.

100.   The following actions taken by Defendants punish Plaintiffs and their children regardless

of any intent by any Defendant because they are patently excessive in relation to any legitimate

objective:

             a. forcibly separating Plaintiffs from their children;



                                                  16
           Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 17 of 19



           b. maintaining separation indefinitely;

           c. failing to provide meaningful information to parents or children about one

              another’s whereabouts and well-being, and anticipated reunification; and

           d. preventing them from reliable and ready access to means of communicating with

              one another.

                 COUNT II: Family Separation in Violation of Due Process

101.   The Constitution’s Fifth Amendment protects the relationship of parent and child.

Quilloin v. Walcott, 434 U.S. 246, 255 (1978).

102.   Plaintiffs and their children have a liberty interest in remaining together as a family,

which is protected by Due Process.

103.   Defendants’ initial separation of Plaintiffs from their children violates substantive Due

Process because it furthers no legitimate purpose, and serves no compelling government interest.

104.   Defendants’ continued separation of Plaintiffs from their children after conclusion of all

criminal proceedings violates substantive Due Process because it furthers no legitimate purpose,

and serves no compelling government interest.

                                              PRAYER

105.   WHEREFORE, Plaintiffs pray that the Court grant them the following relief:

       (a) issue preliminary and permanent injunctions directing Defendants to immediately

           reunite Plaintiffs with their children, and to refrain from taking any action to separate

           them absent emergency or further order of this Court;

       (b) order Defendants to produce the complete administrative record in the time specified

           by D.D.C. LOC. R. 7(n)(1);

       (c) enter declaratory judgment that:



                                                 17
           Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 18 of 19



                (1) Defendants’ forced separation of immigrant detainees from their children is

                   punishment that is proscribed by the Fifth Amendment;

                (2) Defendants’ forced separation of immigrant detainees from their children

                   interferes with family integrity in violation of the Fifth Amendment;

                (3) Defendants violated Plaintiffs’ Fifth Amendment rights when they separated

                   them from their children; and

                (4) Defendants violated Plaintiffs’ Fifth Amendment rights when Defendants

                   maintained separation of Plaintiffs from their children after the conclusion of

                   criminal proceedings against them;

      (d) order Defendants to pay Plaintiffs’ litigation costs and reasonable attorney fees; and

      (e) all other relief that the Court deems just and proper to ensure that Defendants act

      according to law.



June 20, 2018                                        Respectfully submitted,
                                                     TEXAS RIOGRANDE LEGAL AID, INC.


                                                     ________________________________
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                                                18
            Case 1:18-cv-01458 Document 1 Filed 06/20/18 Page 19 of 19



                   CERTIFICATE OF INDIGENT REPRESENTATION

In accord with D.D.C. Local Rule 83.2(g), all attorneys signing this pleading certify that they are
members in good standing of the bar of the Texas Supreme Court, and that they are employed by
Texas RioGrande Legal Aid, Inc. to represent indigent clients at no cost to the clients, including
all Plaintiffs named in the above lawsuit.

                                                     /s/
                                                     ________________________________
                                                     Jerome Wesevich
                                                     Amanda Chisholm
                                                     Peter McGraw




                                                19
        Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 1 of 9




                                                              





                                         

                                         

                                




	




    	
        Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 2 of 9

                                      



    	




    	

    	




    	




	

    	


    	


    	


    	


    	



    	


	
    Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 3 of 9

                                  





	




	




	




	




	
        Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 4 of 9

                                      





    	




    	



	


    	



         	



         	




         	



         	


         	




    	
    Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 5 of 9

                                  





	




     	


     	




	
            Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 6 of 9

                                          


	


        	




    	




    	




	

    	




    	
    Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 7 of 9

                                  





	




	

	

     	


     	




     	



         	




         	
    Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 8 of 9

                                  



         	

         	
         	




     	




     	




	




	




	




	
Case 1:18-cv-01458 Document 1-1 Filed 06/20/18 Page 9 of 9
            Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 1 of 6




                                           ntion nd R mo al of Ali n Parents or
                                       LeQ l Gu rdian




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I.                                                    ro\i      uidanc regarding the det ntion and
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                                                  r child welfare proceeding in the United States. It
                                               ti n _randard and policies that govern the intake.
                                                      r legal guardjans.




                   The foll   :in0    efinitions appl_ for th purposes of this Directi ·e only .

 .l.        •- Court or Child · elfa.re Proceeding. . p           ing in whl~h a family or
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              Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 2 of 6




         2) . Designating a Child Welfare Coordinator.

4.l.     Field Office Directon (FOD) are responsible for designating a coordinator at the
         supervisory level in his or her Field Office to serve as the Field Point of Contact (POC)
         for the provisions listed in this Directive for his/her area of responsibility (AOR).

4.3.     The Child Welfare Coordinator is responsible for:

         1) Serving as the primary point of contact and subject matter expert for all ICE
            personnel regarding child welfare issues related to detained aliens;

         2) With the assistance of ERO divisions responsible for data collection and analysis,
            evaluating, on an ongoing basis, information collected from ENFORCE, the Risk
            Classification Assessment, and other relevant ICE information technology systems
            regarding detained alien parents or legal guardians and sharing appropriate
            information with FODs and Field POCs on an ongoing basis; and

         3) Providing guidance to FODs and Field POCs on:

             a) Appropriate initial placement and transfer decisions for detained alien parents or
                legal guardians;

             b) Appropriate provisions for esc~rted trips to family court or child welfare
                proceedings for detained alien parents or legal guardians;

             c) Appropriate visitation within ICE facilities; and

             d) Appropriate efforts, to the extent practicable, to allow a detained alien parent or
                legal guardian to make arrangements for their minor child(ren), including through
                increased access to counsel, consular officials, family and dependency courts,
                child welfare authorities' personnel, and/or family members or friends in order to
                arrange guardianship, or to obtain travel documents or otherwise make necessary
                travel arrangements, for his or her minor child(ren).

         4) Coordinating as necessary with relevant ERO program offices, FODs, state or local
            family court or child welfare authority personnel, consular officials, and others to
            facilitate the timely response to issues or complaints received by ICE regarding the
            child welfare issues of detained aliens.

4.4.     The ERO Field POCs are responsible for:

         I) Addressing public inquiries related to the family ties of detained alien parents or legal
            guardians of a minor child(ren); and

        2) Communicating with the Child Welfare Coordinator and completing all relevant
            training.

Guidance on the Detention and Removal of Alien Parents or Legal Guardians
                                                                                             2
              Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 3 of 6




 S.      Procedures/Requirements.

S.1.     Minor Child(ren) Encountered During Enforcement Actions.

         1) ICE personnel should not take custody of or transport a minor child(ren) they
            encounter during an enforcement action who is either a USC or LPR, or who is
            otherwise not removable from the United States.

         2) Absent indications of child abuse or neglect, ICE personnel should accoinmodate, to
            the extent practicable, an alien parent or legal guardian's efforts to make alternative
            care arrangements for his or her minor child(ren). ICE personnel should document
            the alien parent or legal guardian's request for transfer of custody of a USC or LPR
            minor child(ren) to a verifiable third party.

         3) If the alien parent or legal guardian cannot make an alternative care arrangement for
            the minor child(ren), or if there is an indication that the minor child(ren) has been
            subject to abuse or neglect by a parent or other adult who may be asked to take
            custody of the minor child(ren), ICE personnel should contact the local child welfare
            authority or law enforcement agency to take custody of the minor child(ren).

         4) Once a detained alien has been determined to be a parent or legal guardian of a USC
            or LPR minor child(ren), ICE personnel should enter this information in ENFORCE
            Alien Removal Module (EARM), or its successor system.

S.2.     Initial Detention Placement and Subsequent Transfers of Detained Alien Parents or
         Legal Guardians.

         1) If the alien's minor child(ren) or family court or child welfare proceedings are within
            the AOR of initial apprehension, the FOD must refrain from making an initial
            placement or from subsequently transferring the alien outside of the AOR of
            apprehension, unless deemed operationally necessary and otherwise consistent with
            applicable ICE policies.

5.3.     Participation in Family Court or Child Welfare Proceedings by Detained Alien
         Parents or Legal Guardians.

         1) Where practicable, the. FOD must arrange for a detained alien parent or legal
            guardian's in-person appearance at a family court or child welfare proceeding when
            the detained alien parent or legal guardian's presence is required in order for him or
            her to maintain or regain custody of his or her minor child(ren) and:

             a) The detained alien parent or legal guardian, or his or her attorney or other
                representative, timely requests with reasonable notice an opportunity to
                participate in such hearings;




Guidance on the· Detention and Removal of Alien Parents or Legal Guardians
                                                                                               3
                Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 4 of 6




               b) The detained alien parent or legal guardian, or his or her attorney or other
                  representative, has produced evidence of a family court or child welfare
                  proceeding, including but not limited to, a notice of hearing, scheduling letter,
                  court order, or other such documentation;

               c) The family court or child welfare proceedings are located within a reasonable
                  driving distance of the detention facility where the detained alien parent or legal
                  guardian is housed;

               d) Transportation and escort of the detained alien parent or legal guardian would not
                  be unduly burdensome on Field Office operations; and

               e) Such transportation and/or escort of the detained alien parent or legal guardian to
                  participate in family court or child welfare proceedings does not present security
                  and/or public safety concerns.

           2) If it is impracticable to transport the detained alien parent or legal guardian to appear
              in-person in a family court or child welfare proceeding, the FOD should
              accommodate the detained alien parent or legal guardian's appearance or participation
              through video or standard teleconferencing from the detention facility or the Field
              Office to the extent that it is technologically feasible and approved by the family
              court or child welfare authority. The detained alien parent shall have the
              responsibility for obtaining approval from the family court or child welfare agency.

           3) All actions taken pertaining to a detainee's participation in family court or child
              welfare proceedings should be documented in EARM, or its successor system.

           4) In all cases, if the detained alien parent or legal guardian does not wish to attend
              and/or participate in a family court or child welfare proceeding, ICE will not interfere
              with the detained alien parent or legal guardian's decision, which shall be documented
              in the detainee's Alien-File (A-File).

S.4.       Visitation.

           1) In the event an alien parent or legal guardian is detained, ICE will facilitate a means
              of regular visitation between the parent and minor child(ren).

           2) Pursuant to ICE detention standards, at facilities where there is no provision for
              visits by minors, upon request, FODs must arrange for a visit by minor child(ren),
              step-child(ren), child(ren) under legal guardianship, and/or foster child(ren) within
              the first 30 days. After that time, upon request, ICE must consider a request for
              transfer, when practicable, to a facility that will allow such visitation. Upon request,
              FODs must continue monthly visits, if transfer is not approved, or until an approved
              transfer can be effected. 1

1
    See National Detention Standards 2000 (Section H.-2.d); Performance-Based National Detentio~ Standards

Guidance on the Detention and Removal of Alien Parents or Legal Guardians
                                                                                                    4
              Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 5 of 6




          3) In some cases, parent-child visitation may be required by the family court or child
             welfare authority in order for a detained alien parent or legal guardian to maintain or
             regain custody of his or her minor child(ren). If a detained alien parent or legal
             guardian, or his or her family member, attorney, or other representative produces
             documentation (e.g., a reunification plan, scheduling letter, court order, or other such
             documentation) of such a requirement, FODs must facilitate, to the extent practicable,
             the required visitation between the detained alien parent or legal guardian and his or
             her .minor child(ren).

              a) Such special visitation may include contact visitation, within the constraints of
                 safety and security for both facility staff and detainees.

             b) These special arrangements must not limit or otherwise adversely affect the
                detained alien parent or legal guardian's normal visitation rights under the
                relevant detention standards, or the safe and efficient operation of the detention
                facility.

         4) If in-person visitation is not practicable, FODs may permit parent-child visitation
            through video or standard teleconferencing from the detention facility or the Field
            Office to the extent it is technologically feasible and approved by the family .court or
            child welfare authority when visitation is court-ordered.

       · 5) All actions documenting parent-child visitation shoulrl be recorded in EARM or its
            successor system. Copies of visitation orders will be placed in the A-File.

S.5.     Coordinating Care or Travel of Minor Cbild(ren) Pending Removal of a Parent or
         Legal Guardian.

         1) Where detained alien parents or legal guardians who maintain their parental rights are
            subject to a final order of removal and ICE is effectuating their removal, FODs or
            their appropriate designees should accommodate, to the extent practicable, the
            detained parent or legal guardian's individual efforts to make arrangements for their
            minor child(ren). Such provisions may include the parent or legal guardian' s attempt
            to arrange guardianship for his or her minor child(ren) to remain in the United States,
            or to obtain travel documents for the minor child(ren) to accompany them to their
            country of removal.

         2) FODs must coordinate, to the extent practicable, within their local detention facilities
            and within the Field Office to afford detained alien parents or legal guardians access
            to counsel, consulates and consular officials, courts and/or family members in the
            weeks preceding removal in order to execute signed documents (e.g., powers of
            attorney, passport applications, appointments of guardians, or other permissions),
            purchase airline tickets, and make other necessary prevarations prior to removal.


 2008 (Section H.2.d); Perfonnance-Based N~ional Detention Standards 2011 (Section 1.2.b).

Guidance on the Detention and Removal of Alien Parents or Legal Guardians
                                                                                             5
             Case 1:18-cv-01458 Document 1-2 Filed 06/20/18 Page 6 of 6




         3) In addition, the POD may, subject to security considerations, provide sufficient notice
            of the removal itinerary to the detainee or through the detained alien's attorney or
            other representative so that coordinated travel arrangements may be made for the
            alien's minor child(ren).

6.       Recordkeeping.

6.1.     Court documentation, visitation orders, and family law case files will be maintained as
         part of the A-File. A-Files will be retained pennanently and transferred to the National
         Archives after 100 years in accordance with the U.S. Citizenship and Immigration
         Services A-File records schedule (Nl-566-08-0 11).

6.2.    Information related to minor child(ren) encountered during enforcement actions and
        family court or child welfare proceedings will be stored in the Enforcement Integrated
        Database and retained for 75 years in accordance with DHS records schedule Biometric
        with Limited Biographical Data (DAA-0563-2013-001) item 6, Law Enforcement.

7.      Authorities/References.

7.1.    Executive Order 13,768, "Enhancing Public Safety in the Interior of the United States,"
        82 Fed. Reg. 8799 (Jan. 30, 2017).

7.2.    Memorandum from DHS Secretary John Kelly, "Enforcement of the Immigration Laws
        to Serve the National Interest" (Feb. 20, 2017).

7.3.    2011 Performance-Based National Detention Standards.

7.4.    2008 Performance-Based National Detention Standards.

7.5.    2000 National Detention Standards.

8.      Attachments. None.

9.      No Private Right Statement. This document provides only internal ICE policy
        guidance, which may be modified, rescinded, or superseded at any time without notice. It
        is not intended to, does not, and may not be relied upon to create any right or benefit,
        substantive or procedural, enforceable at law by any party in any administrative, civil, or
        criminal matter. Likewjse, no limitations are placed by this guidance on the otherwise
        lawful enforcement orAitigative prerogatives of ICE.




Guidance on the Detention and Removal of Alien Parents or Legal Guardians
                                                                                          6
Case 1:18-cv-01458 Document 1-3 Filed 06/20/18 Page 1 of 1
                Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 1 of 12
    Official website of the Department of Homeland Security

               U.S. Department of
               Homeland Security




Fact Sheet: Zero Tolerance
Immigration Prosecutions -
Families
Release Date:  June 15, 2018

The risks of crossing the Rio Grande and desert terrain, or hiding in stash houses or tractor
trailers, are high for adults and even more deeply concerning for children.  Individuals who
seek to enter the United States should do so at ports of entry.

The Attorney General directed United States Attorneys on the Southwest Border to prosecute
all amenable adults who illegally enter the country, including those accompanied by their
children, for 8 U.S.C. § 1325(a), illegal entry. 

Children whose parents are referred for prosecution will be placed with the Department of
Health and Human Services (HHS), Office of Refugee Resettlement (ORR).

The information below provides information about:

   Care for children
   Family communication processes
   The removal process


Additional Information
   Click here for Frequently Asked Questions regarding Zero Tolerance Immigration
   Prosecutions (/news/2018/06/15/frequently-asked-questions-zero-tolerance-immigration-prosecutions)
   Click here to view information provided to individuals while in CBP’s custody
   (/publication/next-steps-families)

   Click here for Information on the location of ICE detainees (http://locator.ice.gov/odls/#/index)
             Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 2 of 12

Prosecution/Removal Proceedings
Individuals who are apprehended by Border Patrol are taken to stations for processing. 

   All individuals, including both adults and children, provide biographical information
   and, in many cases, fingerprints. 
   Border Patrol agents enter information into appropriate electronic systems of records,
   including information about the claimed or confirmed family relationship. 

Individuals who are believed to have committed any crime, including illegal entry, will be
referred to the Department of Justice and presented before a federal judge.

After the conclusion of any criminal case, individuals will be transferred to U.S. Immigration
and Customs Enforcement (ICE) for appropriate immigration proceedings. 

Any individual processed for removal, including those who are criminally prosecuted for illegal
entry, may seek asylum or other protection available under law. 

Alien children may also present an individual claim for asylum and depending on the
circumstances, may undergo separate immigration proceedings.


Communication and Coordination for Families
Children in HHS ORR custody are provided with appropriate care, including medical care,
mental health care, and educational programs. Children are normally held in a temporary
shelter or hosted by an appropriate family.

While in HHS care, ORR begins the process of locating a sponsor for the child for discharge
from federal custody. 

   A sponsor can be a parent, adult sibling, relative, or appropriate home that meets
   criteria for the safety of the child and continuation of any immigration proceedings.  A
   parent who is prosecuted and later released can be a sponsor and ask HHS to release
   his or her child back into his or her custody. 
   In Fiscal Year 2017, 90 percent of the children were released to a sponsor who was
   either a parent or close relative.

HHS and DHS work to facilitate communication between detained parents and their children
in HHS care. 
               Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 3 of 12
    ICE is dedicating a facility as its primary family reunification and removal center. 
    Parents and legal guardians who have been criminally prosecuted and are awaiting
    removal will normally be detained there. 
    All ICE facility staff who interact with parents will receive trauma-informed care
    training. 
    ICE is augmenting mental health care staffing, to include trained clinical staff, to
    provide mental health services to detained parents who have been separated from their
    children. 
    ICE will work with detained parents to provide regular communication with their
    children through video teleconferencing, phone, and tablets.

HHS and ICE can take steps to facilitate family reunification for purposes of removal,
consistent with federal law where the parent or legal guardian is capable of providing for the
physical and mental well-being of the child and comports with the wishes of the parent or
legal guardian. 


Contact Information
For assistance in locating child(ren), individuals may contact the Office of Refugee
Resettlement by calling 1-800-203-7001, email information@ORRNCC.com
(mailto:information@ORRNCC.com) , or visit https://www.acf.hhs.gov/orr/resource/orr-national-call-
center (https://www.acf.hhs.gov/orr/resource/orr-national-call-center) .  Individuals should provide the
child’s full name, date of birth, and country of origin, as well as the alien registration number
(A number), if available.  Operators are available 24 hours a day, 7 days a week, and speak
both Spanish and English.  If calling from an ICE detention facility, dial 699# on the free call
platform.

For information about an immigration case or the process for reunifying with child(ren),
individuals can call the ICE hotline at 1-888-351-4024, email Parental.Interests@ice.dhs.gov
(mailto:Parental.Interests@ice.dhs.gov) , or visit https://www.ice.gov/contact/detention-information-
line (https://www.ice.gov/contact/detention-information-line) .  If calling from an ICE detention facility,
call using speed dial 9116# on the free call platform.  ICE is committed to connecting family
members as quickly as possible after separation so that parents know the location of their
children and have regular communication with them. ICE has posted information in all longer-
term facilities with this information. 

    Click here for Information on the location of ICE detainees (http://locator.ice.gov/odls/#/index)
                  Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 4 of 12
    Click here to view information provided to individuals while in CBP’s custody
    (/publication/next-steps-families)


Topics:  Border Security (/topics/border-security) , Immigration Enforcement (/topics/immigration-enforcement)
Keywords:  Border Security (/keywords/border-security) , Family detention (/keywords/family-detention) , southwest border
(/keywords/southwest-border)


Last Published Date: June 15, 2018
                Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 5 of 12
    Official website of the Department of Homeland Security

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Frequently Asked Questions: Zero
Tolerance Immigration
Prosecutions
Release Date:  June 15, 2018

The Attorney General directed United States Attorneys on the Southwest Border to prosecute
all amenable adults who illegally enter the country, including those accompanied by their
children, for 8 U.S.C. § 1325(a), illegal entry. Children whose parents are referred for
prosecution will be placed with the Department of Health and Human Services (HHS), Office of
Refugee Resettlement (ORR). The following are Frequently Asked Questions regarding Zero
Tolerance Immigration Prosecutions.


Why Are Parents Being Separated From Their
Children?
The Department of Homeland Security (DHS) may separate a parent or legal guardian from his
or her child for several reasons, including situations where DHS cannot ascertain the parental
relationship, when DHS determines that a child may be at risk with the presumed parent or
legal guardian, or if a parent or legal guardian is referred for criminal prosecution, including
for illegal entry.


Where Are Children Going?
Alien children who are separated from their parents or legal guardians will be transferred to
the Department of Health and Human Services, Office of Refugee Resettlement (HHS ORR).


What Happens to Children in HHS Custody?
              Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 6 of 12
HHS ORR provides care for all alien children in its custody, to include medical care, mental
health care, educational services, and other services.  HHS also works to locate a sponsor
(parent, guardian, other adult relative, or foster care provider) for the children in its custody,
for purposes of releasing the child from government custody.


What Happens After Criminal Prosecution?
Parents or legal guardians who are charged with illegal entry will be transferred from DHS to
the Department of Justice, where they will be presented to a judge for a hearing on their
criminal case.  After completion of criminal proceedings, they will be transferred to U.S.
Immigration and Customs Enforcement (ICE) for immigration proceedings.

Any individual who is subject to removal may, in the course of immigration proceedings, seek
asylum or other relief or protection from removal.  The fact that an individual was prosecuted
for illegal entry does not affect this right.

HHS and ICE can take steps to facilitate family reunification, for purposes of removal, if the
potential sponsor is capable of providing for the physical and mental well-being of the
child..and comports with the wishes of the parent or legal guardian. 

Children may also present an individual claim for asylum or other relief or protection from
removal, and depending on the circumstances, may undergo separate immigration
proceedings.


How Can I Communicate With My Child?
For parents or legal guardians detained in ICE custody, ICE and HHS will work to schedule
regular communication with their children in HHS custody, through telephone and/or video
conferencing.

Additionally, individuals may locate and communicate with their children through the
following methods:

   HHS Parent Hotline (24 hours a day, 7 days a week, in both English and Spanish):
     If calling from outside an ICE detention facility, call 1-800-203-7001.
       If calling from an ICE detention facility, dial 699# on the free call platform.
       Please note that you will need to provide the child’s full name, date of birth, and
       country of origin.  It is also helpful to provide the child’s alien registration
       number, if you know it.
                  Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 7 of 12
    Email ORR at information@ORRNCC.com (mailto:information@ORRNCC.com)

Individuals may also obtain information about a particular immigration case (including their
child’s), or information about reunifying with their children, through the following methods:

    ICE Call Center (Monday-Friday, 8 am-8 pm EST):
        If calling from outside an ICE detention facility, call 1-888-351-4024.
         If calling from an ICE detention facility, dial 9116# on the free call platform.


    Email ICE at Parental.Interests@ice.dhs.gov (mailto:Parental.Interests@ice.dhs.gov)

Topics:  Border Security (/topics/border-security) , Immigration Enforcement (/topics/immigration-enforcement)
Keywords:  Border Security (/keywords/border-security) , Family detention (/keywords/family-detention) , southwest border
(/keywords/southwest-border)


Last Published Date: June 15, 2018
                 Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 8 of 12
     Official website of the Department of Homeland Security

                U.S. Department of
                Homeland Security




Next Steps for Families
Information provided to families who are in the custody of Customs and Border Protection
(CBP) for the crime of illegal entry into the United States.  The information provides an
overview of the custody process and ways that parents can contact their children.

 Attachment                                                                                       Size

    Next Steps for Families                                                                       104.98
 (https://www.dhs.gov/sites/default/files/publications/18_0615_CBP_Next-Steps-for-Families.pdf)   KB


Last Published Date: June 15, 2018
                                Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 9 of 12
    Next Steps for
            FAMILIES
       1
STEP STEP




               You are currently in the custody of the U.S. Department of Homeland Security (DHS) Customs and Border Protection (CBP).
               You have been charged with the crime of illegal entry into the United States.


       2     Within the next 48 hours, you will be transferred to the custody of the U.S. Department of Justice (DOJ) and will be presented before a judge for
              having violated this law.
             While this process is occurring, your child or children will be transferred to the U.S. Department of Health and Human Services (HHS), Office of
              Refugee Resettlement (ORR), where your child will be held in a temporary child shelter or hosted by a foster family.
             DHS and HHS can take steps to facilitate reunification with your child(ren).


       3
STEP




            How do I locate my child(ren)?
            Action 1 - Call U.S. Immigration and Customs Enforcement (ICE) Call Center.
                       If calling from outside of an ICE detention facility, call 1-888-351-4024.
                       If calling from an ICE detention facility, call using speed dial 9116# on the free call platform.
                       Available Monday – Friday, 8am to 8pm EST. Language assistance is available.
            Action 2 - Call the ORR Parent Hotline.
                       If calling from outside of an ICE detention facility, call 1-800-203-7001.
                       If calling from an ICE detention facility, call using speed dial 699# on the free call platform.
                       Please provide the child’s full name, date of birth, and country of origin. It is helpful to give the child’s A number, or alien registration
                         number, to the operator if you have it.
                       Available 24 hours a day, 7 days a week, in Spanish or English.
            Action 3 – Friends, family, ORR staff, and legal representatives can assist you by emailing:
                       ICE at Parental.Interests@ice.dhs.gov
                       ORR at information@ORRNCC.com


       4
STEP




             After your court hearing, you will be transferred to ICE custody.
             While you are in ICE custody:
                       ICE will work with ORR to schedule regular communication (via telephone and/or video
                         teleconferencing) with your child(ren).
                       ICE will provide access to legal self-help materials.




       1      Usted está actualmente en la custodia del Departamento de Seguridad Nacional de los
PASO PASO




            
              Estados Unidos (DHS) Oficina de Aduanas y Protección Fronteriza (CBP).
             Usted está acusado del delito de entrar a los Estados Unidos ilegalmente.


       2     Dentro las próxima 48 horas, usted va a ser transferido a la custodia del Departamento de Justicia de EE. UU. (DOJ) y vas a aparecer antes de
              un juez por haber violado la ley.
             Mientras que ocurre este proceso, su hijo o hijos serán transferidos al Departamento de Salud y Servicios Humanos de EE. UU. (HHS) Oficina
              de Reubicación de Refugiados (ORR) donde su hijo será puesto en un refugio para niños o será cuidado por una familia sustituta.
             DHS y HHS pueden tomar los pasos necesarios para facilitar la reunificación son sus hijos.


       3
            ¿Como ubico mis hijos?
PASO




            Acción 1 - Llame el Centro de Llamadas del Servicio de Inmigración y Control de Aduanas de EE. UU. (ICE)
                       Si usted llama fuera de un centro de detención de ICE, llame 1-888-351-4024.
                       Si usted llama desde un centro de detención de ICE, llame usando la marcación rápida 9116# en la plataforma de llamadas gratuitas.
                       Accesible lunes-viernes, 8am a 8pm EST. Asistencia para hablar en su idioma está disponible.
            Acción 2 - Llame la Línea para Padres del ORR.
                       Si usted llama fuera de un centro de detención de ICE, llame, llame 1-800-203-7001.
                       Si usted llama desde un centro de detención de ICE, llame usando la marcación rápida 699# en la plataforma de llamadas gratuitas.
                       Por favor proporcione el nombre completo de su hijo, la fecha de nacimiento, y su país de origen. También infórmale al operador el “A
                         number”, o número de extranjero de su hijo si lo tienes.
                       Disponible 24 horas al día, 7 días a la semana, en inglés o español.
            Acción 3 – Amigos, familia, empleados de ORR, y su representación legal pueden asistirlo atreves de mandando u email a:
                       ICE at Parental.Interests@ice.dhs.gov
                       ORR at information@ORRNCC.com



       4        Usted va a ser transferido a la custodia del ICE después de su audiencia en la corte.
PASO




            
               Mientras en el cuidado y custodia de ICE:
                       ICE va a trabajar con ORR para designar comunicación fija (vía teléfono y/o video teleconferencia) con sus hijos.
                       ICE dará acceso a materiales de autoayuda legal.
                     Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 10 of 12
    Official Website of the Department of Homeland Security



                                                              Report Crimes: Email (http://www.ice.gov/webform/hsi-tip-form) or




                            (http://www.ice.gov/)
      Main Menu



Online Detainee Locator System
Select a different language

English

Use this page to locate a detainee who is currently in ICE custody.
Online Detainee Locator System cannot search for records of persons under the age of 18.

Search by A-Number
If you know the detainee's A-Number, ICE recommends you use the A-Number search. The A-Number
must be exactly nine digits long. If the A-Number has fewer than nine digits, please add zeros at the
beginning. You are also required to select the detainee's correct Country of Birth. (* Required Field)

A-Number: *
  A-Number

Country of Birth: *
   -- Select a Country --

  Search by A-Number



Search by Biographical Information
When searching by name, a detainee's first and last names are required and must be an exact match
(e.g., John Doe will not find Jon Doe or John Doe-Smith). You are also required to select the detainee's
Country of Birth. It is optional to enter the value input below are evaluated for exact matches. (*
Required Field)
First Name: *



Last Name: *



Country of Birth: *
                    Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 11 of 12
   S l      t   C    t
Month:



Day:



Year:



    Search by Biographical Information




  Related
  Information

  Helpful Info
  Status of a Case
  About the Detainee Locator
  Brochure
  (http://www.ice.gov/factsheets/odls)
  ICE ERO Field Offices
  (http://www.ice.gov/contact/ero/)
  ICE Detention Facilities
  (https://www.ice.gov/detention-
  facilities)
  Privacy Notice



  External Links
  Bureau of Prisons Inmate
  Locator
  (http://www.bop.gov/iloc2/LocateInmate.jsp)


(http://service.govdelivery.com/service/multi_subscribe.html?code=USDHSICE)
(http://www.facebook.com/wwwicegov)        (http://twitter.com/wwwICEgov)     (www.ice.gov/rss/)
(http://youtube.com/wwwICEgov)
                  Case 1:18-cv-01458 Document 1-4 Filed 06/20/18 Page 12 of 12
(https://www.linkedin.com/company/u-s-immigration-and-customs-enforcement-ice)
(http://itunes.apple.com/us/podcast/ices-latest-videos/id535655139?mt=2&ign-mpt=uo%3D4)
(https://www.instagram.com/icegov )

DHS.gov (http://www.dhs.gov) | USA.gov (http://www.usa.gov) |
OIG (http://www.oig.dhs.gov) |
Open Gov (http://www.whitehouse.gov/open) |
FOIA (http://www.ice.gov/foia/overview) |
Metrics (http://www.ice.gov/metrics) |
No Fear Act (http://www.ice.gov/management-administration/dcr) |
Site Map (http://www.ice.gov/sitemap) |
Site Policies & Plug-Ins (http://www.ice.gov/legal)
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Are You Detained and Separated

                      Even though you are in immigration detention you
                                                                     u can still
                        communicate
                        communicate with your child(ren)
                                                    ( ) and make de
                                               child(ren            decisions about
                                                                                 ut their care.
                                                                     ecisions abou
                                                                                 ut
You can ask for help locating and/or getting in contact with your child(ren) by making the following free calls from
your housing unit phones. Ask facility staff for instructions on making phone calls using the pro bono phone platform.
    ¾ If you need assistance locating your child(ren) or setting up regular communication with your child(ren), call
      the Detention Reporting Information Line (Speed Dial 9116# on the Free Call Platform).
    ¾ If you know that your child(ren) is in the custody of the U.S. Government, call the Office of Refugee
      Resettlement (ORR) Parent Hotline using the free speed dial 699# on the detention phones.
In addition to calling, you may also fill out a detainee request form asking an ICE officer for assistance in locating
and/or communicating with your child.

                                           ICE and ORR work together to locate children, verify the parent/child
                                           relationship, and set up regular communication and removal coordination,
                                           if necessary.
                                                   Additional information regarding your parental rights may be
                                                   found in the Women’s Refugee Commission’s self-help toolkit,
                                                   Detained or Deported: What About My Children, available on the
                                                   law library computers.
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                    M8=?NOÿ3;898<=ÿ2>>?<@<;A?ÿB?9ÿMC@ÿPQJRQRSJTÿ<9ÿJSUVSÿ2/ÿ8;ÿ-CE@9@CCWÿJ
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                    J<K<=89ÿGAL96>ÿM<H<5K<=ÿNÿO=@P5QR699<ÿ=<;=<Q<5765SÿT@Q8=6@ÿU98K6B6=ÿVA8=<WN
                    E6<==8ÿFM<H<5K857ÿXYZIÿ
                    ?[\G]:4^YÿP67_ÿ4567689ÿ:;;<8=85><ÿ8Qÿ7@ÿT@Q8=6@ÿU98K6B6=ÿVA8=<WNE6<==8
                    FCI`ÿH69<Kaÿ4567689ÿ:;;<8=85><ÿQ<7ÿH@=ÿbcCdcdeCfÿ87ÿCegheÿ:\ÿ65ÿ?@A=7=@@BÿC
                    L<H@=<ÿ\8S6Q7=87<ÿVAKS<ÿ4S58>6@ÿY@=7<i8ÿ444ÿ
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                    kQ7=8K8N[=<99858ÿFM<H<5K857ÿXYZIÿ
                    ?[\G]:4^YÿP67_ÿ4567689ÿ:;;<8=85><ÿ8Qÿ7@ÿM<iQ6ÿM<ÿ]@Qÿ:5S<9<QÿkQ7=8K8N
                    [=<99858ÿFCI`ÿH69<Kaÿ4567689ÿ:;;<8=85><ÿQ<7ÿH@=ÿbcCdcdeCfÿ87ÿCegheÿ:\ÿ65
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                    ?@A=7=@@BÿCÿL<H@=<ÿ\8S6Q7=87<ÿVAKS<ÿ4S58>6@ÿY@=7<i8ÿ444ÿ
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                    :=SA<78ÿFM<H<5K857ÿXYZIÿ
                    ?[\G]:4^YÿP67_ÿ4567689ÿ:;;<8=85><ÿ8Qÿ7@ÿk9B<=ÿV@_5ÿy@B<WN:=SA<78ÿFCI`
                    H69<Kaÿ4567689ÿ:;;<8=85><ÿQ<7ÿH@=ÿbcCdcdeCfÿ87ÿCegheÿ:\ÿ65ÿ?@A=7=@@BÿC
                    L<H@=<ÿ\8S6Q7=87<ÿVAKS<ÿ4S58>6@ÿY@=7<i8ÿ444ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿCgCfN;@NeCbjdNCÿDE:ÿRaÿ:R89@QNk=8W@ÿmnonpmqprÿrnstupqrnmÿvw
 ÿ                ./01202.13ÿÿÿ
                  4567689ÿ:;;<8=85><ÿ?@A=7=@@BÿC
                    DE:ÿFG986576HHIÿ
                    J<K<=89ÿGAL96>ÿM<H<5K<=ÿNÿO=@P5QR699<ÿ=<;=<Q<5765SÿV@Q<ÿE8BA<9ÿ:R89@QN
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                    ?@ABCDEF<ÿGH:IÿE8H:H0JÿDKK60/08L6ÿ0Mÿ:2ÿN2M6ÿO0PQ6JÿDR0J2MS./012ÿ4T>U
                    7HJ69VÿE8H:H0JÿDKK60/08L6ÿM6:ÿ72/ÿWXTYXYZT[ÿ0:ÿTZ\]ZÿDAÿH8ÿ?2Q/:/22PÿT
                    ^672/6ÿA0_HM:/0:6ÿNQ9_6ÿE_80LH2ÿ<2/:6`0ÿEEEÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[SK2SZTWa]STÿbODÿRVÿBH8690SAQ/HJJ2ÿdefegdhgiÿiejklghiedÿmn
 ÿ                opqrsqsortÿÿÿ
                  E8H:H0JÿDKK60/08L6ÿ?2Q/:/22PÿT
                    bODÿ4BJ0H8:H77>ÿ
                    u696/0JÿBQ^JHLÿ5676896/ÿSÿv/2G8MRHJJ6ÿ/6K/6M68:H8_ÿNQR680JÿBH8690SAQ/HJJ2
                    456768908:ÿ;<=>ÿ
                    ?@ABCDEF<ÿGH:IÿE8H:H0JÿDKK60/08L6ÿ0Mÿ:2ÿNQR680JÿBH8690SAQ/HJJ2ÿ4T>U
                    7HJ69VÿE8H:H0JÿDKK60/08L6ÿM6:ÿ72/ÿWXTYXYZT[ÿ0:ÿTZ\]ZÿDAÿH8ÿ?2Q/:/22PÿT
                    ^672/6ÿA0_HM:/0:6ÿNQ9_6ÿE_80LH2ÿ<2/:6`0ÿEEEÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[SK2SZTWawSTÿbODÿRVÿB6/61Sx6LH82Mÿdefegdhgiÿiejklghiedÿmn
 ÿ                opqrsqsortÿÿÿ
                  E8H:H0JÿDKK60/08L6ÿ?2Q/:/22PÿT
                    bODÿ4BJ0H8:H77>ÿ
                    u696/0JÿBQ^JHLÿ5676896/ÿSÿv/2G8MRHJJ6ÿ/6K/6M68:H8_ÿ508H0ÿA0/J68`ÿB6/61S
                    x6LH82Mÿ456768908:ÿ;<=>ÿ
                    ?@ABCDEF<ÿGH:IÿE8H:H0JÿDKK60/08L6ÿ0Mÿ:2ÿ508H0ÿA0/J68`ÿB6/61Sx6LH82M
                    4T>Uÿ7HJ69VÿE8H:H0JÿDKK60/08L6ÿM6:ÿ72/ÿWXTYXYZT[ÿ0:ÿTZ\]ZÿDAÿH8ÿ?2Q/:/22PÿT
                    ^672/6ÿA0_HM:/0:6ÿNQ9_6ÿE_80LH2ÿ<2/:6`0ÿEEEÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[SK2SZTWaySTÿbODÿRVÿO08LI61Sz2810J6Mÿdefegdhgiÿiejklghied
 ÿ                mnÿopqrsqsortÿÿÿ
                  E8H:H0JÿDKK60/08L6ÿ?2Q/:/22PÿT
                    bODÿ4BJ0H8:H77>ÿ
                    u696/0JÿBQ^JHLÿ5676896/ÿSÿv/2G8MRHJJ6ÿ/6K/6M68:H8_ÿ?0/J2MÿN2M6ÿO08LI61S
                    z2810J6Mÿ456768908:ÿ;<=>ÿ
                    ?@ABCDEF<ÿGH:IÿE8H:H0JÿDKK60/08L6ÿ0Mÿ:2ÿ?0/J2MÿN2M6ÿO08LI61Sz2810J6M
                    4T>Uÿ7HJ69VÿE8H:H0JÿDKK60/08L6ÿM6:ÿ72/ÿWXTYXYZT[ÿ0:ÿTZ\]ZÿDAÿH8ÿ?2Q/:/22PÿT
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 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[SK2SZTWaWSTÿbODÿRVÿA2/0J6MS{6//6/0ÿdefegdhgiÿiejklghiedÿmn
 ÿ                opqrsqsortÿÿÿ
                  E8H:H0JÿDKK60/08L6ÿ?2Q/:/22PÿT
                    bODÿ4BJ0H8:H77>ÿ
                    u696/0JÿBQ^JHLÿ5676896/ÿSÿv/2G8MRHJJ6ÿ/6K/6M68:H8_ÿ@JP08ÿ508H6JÿA2/0J6MS
                    {6//6/0ÿ456768908:ÿ;<=>ÿ
                    ?@ABCDEF<ÿGH:IÿE8H:H0JÿDKK60/08L6ÿ0Mÿ:2ÿ@JP08ÿ508H6JÿA2/0J6MS{6//6/0
                    4T>Uÿ7HJ69VÿE8H:H0JÿDKK60/08L6ÿM6:ÿ72/ÿWXTYXYZT[ÿ0:ÿTZ\]ZÿDAÿH8ÿ?2Q/:/22PÿT
                    ^672/6ÿA0_HM:/0:6ÿNQ9_6ÿE_80LH2ÿ<2/:6`0ÿEEEÿ
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 ÿ                UVWXYWYUXZÿÿÿ
                  [\A@AFHÿ;33]F?F\E]ÿ^4_?@?44Gÿ/
                    9:;ÿ`aHFA\@Abbcÿ
                    d]e]?FHÿa_fHAEÿg]b]\e]?ÿ2ÿh?4i\D<AHH]ÿ?]3?]D]\@A\jÿd?F\EADE4ÿk]D_Dÿ>?@AB2
                    CDEFGAHHFÿ`g]b]\eF\@ÿlmncÿ
                    ^>oap;[qmÿiA@rÿ[\A@AFHÿ;33]F?F\E]ÿFDÿ@4ÿd?F\EADE4ÿk]D_Dÿ>?@AB2CDEFGAHHF
                    `/csÿbAH]e=ÿ[\A@AFHÿ;33]F?F\E]ÿD]@ÿb4?ÿ6t/utu5/1ÿF@ÿ/50v5ÿ;oÿA\ÿ^4_?@?44Gÿ/
                    f]b4?]ÿoFjAD@?F@]ÿk_ej]ÿ[j\FEA4ÿm4?@]wFÿ[[[ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ/0/123425/6712/ÿ9:;ÿ<=ÿx4G]?42o]\e4BFÿJKLKMJNMOÿOKPQRMNOKJ
 ÿ                STÿUVWXYWYUXZÿÿÿ
                  [\A@AFHÿ;33]F?F\E]ÿ^4_?@?44Gÿ/
                    9:;ÿ`aHFA\@Abbcÿ
                    d]e]?FHÿa_fHAEÿg]b]\e]?ÿ2ÿh?4i\D<AHH]ÿ?]3?]D]\@A\jÿyAE@4?ÿoF\_]Hÿx4G]?42
                    o]\e4BFÿ`g]b]\eF\@ÿlmncÿ
                    ^>oap;[qmÿiA@rÿ[\A@AFHÿ;33]F?F\E]ÿFDÿ@4ÿyAE@4?ÿoF\_]Hÿx4G]?42
                    o]\e4BFÿ`/csÿbAH]e=ÿ[\A@AFHÿ;33]F?F\E]ÿD]@ÿb4?ÿ6t/utu5/1ÿF@ÿ/50v5ÿ;oÿA\
                    ^4_?@?44Gÿ/ÿf]b4?]ÿoFjAD@?F@]ÿk_ej]ÿ[j\FEA4ÿm4?@]wFÿ[[[ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ/0/123425/6772/ÿ9:;ÿ<=ÿq]?A2g]G]@?A4ÿJKLKMJNMOÿOKPQRMNOKJÿST
 ÿ                UVWXYWYUXZÿÿÿ
                  [\A@AFHÿ;33]F?F\E]ÿ^4_?@?44Gÿ/
                    9:;ÿ`aHFA\@Abbcÿ
                    d]e]?FHÿa_fHAEÿg]b]\e]?ÿ2ÿh?4i\D<AHH]ÿ?]3?]D]\@A\jÿx4G_FHe4ÿq]?A2
                    g]G]@?A4ÿ`g]b]\eF\@ÿlmncÿ
                    ^>oap;[qmÿiA@rÿ[\A@AFHÿ;33]F?F\E]ÿFDÿ@4ÿx4G_FHe4ÿq]?A2g]G]@?A4ÿ`/cs
                    bAH]e=ÿ[\A@AFHÿ;33]F?F\E]ÿD]@ÿb4?ÿ6t/utu5/1ÿF@ÿ/50v5ÿ;oÿA\ÿ^4_?@?44Gÿ/
                    f]b4?]ÿoFjAD@?F@]ÿk_ej]ÿ[j\FEA4ÿm4?@]wFÿ[[[ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ/0/123425/8552/ÿ9:;ÿ<=ÿhF?@4H4\2z4\BFH]BÿJKLKMJNMOÿOKPQRMNOKJ
 ÿ                STÿUVWXYWYUXZÿÿÿ
                  [\A@AFHÿ;33]F?F\E]ÿ^4_?@?44Gÿ/
                    9:;ÿ`aHFA\@Abbcÿ
                    d]e]?FHÿa_fHAEÿg]b]\e]?ÿ2ÿh?4i\D<AHH]ÿ?]3?]D]\@A\jÿCejF?ÿhF?@4H4\2
                    z4\BFH]Bÿ`g]b]\eF\@ÿlmncÿ
                    ^>oap;[qmÿiA@rÿ[\A@AFHÿ;33]F?F\E]ÿFDÿ@4ÿCejF?ÿhF?@4H4\2z4\BFH]Bÿ`/cs
                    bAH]e=ÿ[\A@AFHÿ;33]F?F\E]ÿD]@ÿb4?ÿ6t/utu5/1ÿF@ÿ/50v5ÿ;oÿA\ÿ^4_?@?44Gÿ/
                    f]b4?]ÿoFjAD@?F@]ÿk_ej]ÿ[j\FEA4ÿm4?@]wFÿ[[[ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ/0/123425/85/2/ÿ9:;ÿ<=ÿgAFBÿJKLKMJNMOÿOKPQRMNOKJÿSTÿUVWXYWYUXZ
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                  [\A@AFHÿ;33]F?F\E]ÿ^4_?@?44Gÿ/
                    9:;ÿ`aHFA\@Abbc
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                    -./.012ÿ456278ÿ9.:.;/.0ÿ<ÿ=0>?;@A722.ÿ0.B0.@.;C7;DÿE107;1ÿ9.2ÿF10G.;
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                    971HÿI9.:.;/1;CÿJKLMÿ
                    FNE4OPQRKÿ?7CSÿQ;7C712ÿPBB.101;8.ÿ1@ÿC>ÿE107;1ÿ9.2ÿF10G.;ÿ971HÿITMU
                    :72./VÿQ;7C712ÿPBB.101;8.ÿ@.Cÿ:>0ÿWXTYXYZT[ÿ1CÿTZ\]ZÿPEÿ7;ÿF>50C0>>GÿT
                    6.:>0.ÿE1D7@C01C.ÿ^5/D.ÿQD;187>ÿK>0C._1ÿQQQÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[<B><ZT`ZY<TÿabPÿAVÿPG1/>0<KH7CH7G7C7C21ÿdefegdhgi
 ÿ                iejklghiedÿmnÿopqrsqsortÿÿÿ
                  Q;7C712ÿPBB.101;8.ÿF>50C0>>GÿT
                    abPÿI4217;C7::Mÿ
                    -./.012ÿ456278ÿ9.:.;/.0ÿ<ÿ=0>?;@A722.ÿ0.B0.@.;C7;Dÿu>21;/>ÿPG1/>0<
                    KH7CH7G7C7C21ÿI9.:.;/1;CÿJKLMÿ
                    FNE4OPQRKÿ?7CSÿQ;7C712ÿPBB.101;8.ÿ1@ÿC>ÿu>21;/>ÿPG1/>0<KH7CH7G7C7C21
                    ITMUÿ:72./VÿQ;7C712ÿPBB.101;8.ÿ@.Cÿ:>0ÿWXTYXYZT[ÿ1CÿTZ\]ZÿPEÿ7;ÿF>50C0>>GÿT
                    6.:>0.ÿE1D7@C01C.ÿ^5/D.ÿQD;187>ÿK>0C._1ÿQQQÿ
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                  Q;7C712ÿPBB.101;8.ÿF>50C0>>GÿT
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                    u>/07D5.H<F05HÿI9.:.;/1;CÿJKLMÿ
                    FNE4OPQRKÿ?7CSÿQ;7C712ÿPBB.101;8.ÿ1@ÿC>ÿF07@C71;ÿu.;.ÿu>/07D5.H<F05H
                    ITMUÿ:72./VÿQ;7C712ÿPBB.101;8.ÿ@.Cÿ:>0ÿWXTYXYZT[ÿ1CÿTZ\]ZÿPEÿ7;ÿF>50C0>>GÿT
                    6.:>0.ÿE1D7@C01C.ÿ^5/D.ÿQD;187>ÿK>0C._1ÿQQQÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿT\T[<B><ZT`Zv<TÿabPÿAVÿw510/1/><F05Hÿdefegdhgiÿiejklghiedÿmn
 ÿ                opqrsqsortÿÿÿ
                  Q;7C712ÿPBB.101;8.ÿF>50C0>>GÿT
                    abPÿI4217;C7::Mÿ
                    -./.012ÿ456278ÿ9.:.;/.0ÿ<ÿ=0>?;@A722.ÿ0.B0.@.;C7;DÿxA.0ÿP2.y1;/.0
                    w510/1/><F05HÿI9.:.;/1;CÿJKLMÿ
                    FNE4OPQRKÿ?7CSÿQ;7C712ÿPBB.101;8.ÿ1@ÿC>ÿxA.0ÿP2.y1;/.0ÿw510/1/><F05H
                    ITMUÿ:72./VÿQ;7C712ÿPBB.101;8.ÿ@.Cÿ:>0ÿWXTYXYZT[ÿ1CÿTZ\]ZÿPEÿ7;ÿF>50C0>>GÿT
                    6.:>0.ÿE1D7@C01C.ÿ^5/D.ÿQD;187>ÿK>0C._1ÿQQQÿ
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 ÿ                opqrsqsortÿÿÿ
                  Q;7C712ÿPBB.101;8.ÿF>50C0>>GÿT
                    abPÿI4217;C7::Mÿ
                    -./.012ÿ456278ÿ9.:.;/.0ÿ<ÿ=0>?;@A722.ÿ0.B0.@.;C7;DÿF102>@ÿu>6.0C>ÿu1G70.H<
                    PD57210ÿI9.:.;/1;CÿJKLMÿ
                    FNE4OPQRKÿ?7CSÿQ;7C712ÿPBB.101;8.ÿ1@ÿC>ÿF102>@ÿu>6.0C>ÿu1G70.H<PD57210
                    ITMUÿ:72./VÿQ;7C712ÿPBB.101;8.ÿ@.Cÿ:>0ÿWXTYXYZT[ÿ1CÿTZ\]ZÿPEÿ7;ÿF>50C0>>GÿT
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 ÿ                ]^_`a_a]`bÿÿÿ
                  =>7975cÿLFF/525>?/ÿd1;29211eÿB
                    JKLÿfgc57>9700hÿ
                    i/</25cÿg;.c7?ÿj/0/></2ÿEÿk21l>8M7cc/ÿ2/F2/8/>97>6ÿm5;cÿK/6;><1EO1F/P
                    fj/0/><5>9ÿn@ohÿ
                    dp4gOL=q@ÿl79rÿ=>7975cÿLFF/525>?/ÿ58ÿ91ÿm5;cÿK/6;><1EO1F/PÿfBhsÿ07c/<N
                    =>7975cÿLFF/525>?/ÿ8/9ÿ012ÿItButuGBDÿ59ÿBGCvGÿL4ÿ7>ÿd1;29211eÿBÿ./012/
                    456789259/ÿ:;<6/ÿ=6>5?71ÿ@129/A5ÿ===ÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿBCBDEF1EGBHGHEBÿJKLÿMNÿO1F/PEw1>P5c/PÿRSTSURVUWÿWSXYZUVWSRÿ[\
 ÿ                ]^_`a_a]`bÿÿÿ
                  =>7975cÿLFF/525>?/ÿd1;29211eÿB
                    JKLÿfgc57>9700hÿ
                    i/</25cÿg;.c7?ÿj/0/></2ÿEÿk21l>8M7cc/ÿ2/F2/8/>97>6ÿd278975>ÿO1F/PEw1>P5c/P
                    fj/0/><5>9ÿn@ohÿ
                    dp4gOL=q@ÿl79rÿ=>7975cÿLFF/525>?/ÿ58ÿ91ÿd278975>ÿO1F/PEw1>P5c/PÿfBhs
                    07c/<Nÿ=>7975cÿLFF/525>?/ÿ8/9ÿ012ÿItButuGBDÿ59ÿBGCvGÿL4ÿ7>ÿd1;29211eÿB
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 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿBCBDEF1EGBHGDEBÿJKLÿMNÿg/2/PEO1F/PÿRSTSURVUWÿWSXYZUVWSRÿ[\
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                  =>7975cÿLFF/525>?/ÿd1;29211eÿB
                    JKLÿfgc57>9700hÿ
                    i/</25cÿg;.c7?ÿj/0/></2ÿEÿk21l>8M7cc/ÿ2/F2/8/>97>6ÿxc.7>ÿg/2/PEO1F/P
                    fj/0/><5>9ÿn@ohÿ
                    dp4gOL=q@ÿl79rÿ=>7975cÿLFF/525>?/ÿ58ÿ91ÿxc.7>ÿg/2/PEO1F/PÿfBhsÿ07c/<N
                    =>7975cÿLFF/525>?/ÿ8/9ÿ012ÿItButuGBDÿ59ÿBGCvGÿL4ÿ7>ÿd1;29211eÿBÿ./012/
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                    1A;8;6<467ÿMNO9ÿ
                    JPQ2R/STNÿE57UÿS657543ÿ/HH;4=46@;ÿ4Fÿ7DÿJ46<5<Dÿ/=46<4BK;L;Fÿ1V9W
                    853;<XÿS657543ÿ/HH;4=46@;ÿF;7ÿ8D=ÿYZV[Z[\V]ÿ47ÿV\^_\ÿ/Qÿ56ÿJD>=7=DD`ÿV
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                  S657543ÿ/HH;4=46@;ÿJD>=7=DD`ÿV
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                    :;<;=43ÿ2>?35@ÿA;8;6<;=ÿBÿC=DE6FG533;ÿ=;H=;F;6756Iÿ:=;<Lÿ/67D65DÿJ4F7=DB
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                    JPQ2R/STNÿE57UÿS657543ÿ/HH;4=46@;ÿ4Fÿ7Dÿ:=;<Lÿ/67D65DÿJ4F7=DBK>5cÿ1V9W
                    853;<XÿS657543ÿ/HH;4=46@;ÿF;7ÿ8D=ÿYZV[Z[\V]ÿ47ÿV\^_\ÿ/Qÿ56ÿJD>=7=DD`ÿV
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 ÿ                jfklmhijfeÿnoÿpqrstrtpsuÿÿÿ
                  S657543ÿ/HH;4=46@;ÿJD>=7=DD`ÿV
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                    :;<;=43ÿ2>?35@ÿA;8;6<;=ÿBÿC=DE6FG533;ÿ=;H=;F;6756IÿaDF;ÿ:=46@5F@D
                    /3`;6<4=;FB/3G4=4<Dÿ1A;8;6<467ÿMNO9ÿ
                    JPQ2R/STNÿE57UÿS657543ÿ/HH;4=46@;ÿ4Fÿ7DÿaDF;ÿ:=46@5F@Dÿ/3`;6<4=;FB
                    /3G4=4<Dÿ1V9Wÿ853;<XÿS657543ÿ/HH;4=46@;ÿF;7ÿ8D=ÿYZV[Z[\V]ÿ47ÿV\^_\ÿ/Qÿ56
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                    :;<;=43ÿ2>?35@ÿA;8;6<;=ÿBÿC=DE6FG533;ÿ=;H=;F;6756IÿaDF;ÿQ4=54ÿv;=646<;c
                    1A;8;6<467ÿMNO9ÿ
                    JPQ2R/STNÿE57UÿS657543ÿ/HH;4=46@;ÿ4Fÿ7DÿaDF;ÿQ4=54ÿv;=646<;cÿ1V9Wÿ853;<X
                    S657543ÿ/HH;4=46@;ÿF;7ÿ8D=ÿYZV[Z[\V]ÿ47ÿV\^_\ÿ/Qÿ56ÿJD>=7=DD`ÿVÿ?;8D=;
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                    S67;=546DBQD=43;Fÿ1A;8;6<467ÿMNO9ÿ
                    JPQ2R/STNÿE57UÿS657543ÿ/HH;4=46@;ÿ4Fÿ7DÿR;5?56ÿx5@7D=54ÿS67;=546DB
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                    Y:0Zÿ5Y292>;0>?ÿsPt7ÿ
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                    Ju-mv@=wPÿp:?qÿ=>:?:01ÿ@AA20/0>B2ÿ03ÿ?.ÿV:1W:0ÿV0>?.3ÿv.A2ZRY2ÿo21?/0>
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                    m:>2;0ÿ5Y292>;0>?ÿsPt7ÿ
                    Ju-mv@=wPÿp:?qÿ=>:?:01ÿ@AA20/0>B2ÿ03ÿ?.ÿx.>Qÿr09021ÿrKM:Rm:>2;0ÿ5678
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1681
Jefferson Gavino GARCIA-Mendez
 A216 608 021 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01681
                                                    Magistrate Judge Ignacio Torteya III

Jefferson Gavino Garcia−Mendez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1682
Juan ORTIZ-Garcia
 A209 223 384 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          May 31, 2018           in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Los Indios, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on May 31, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Flores, Hector Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Flores, Hector       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01682
                                                    Magistrate Judge Ignacio Torteya III

Juan Ortiz−Garcia
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1683
Miguel Wilson MARIN-Jorge
A209 908 199 Guatemala
AKA Miguel Wilson MARVIN-George




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Guatemala who entered the
United States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Flores, Hector Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Flores, Hector       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01683
                                                    Magistrate Judge Ignacio Torteya III

Miguel Wilson Marin−Jorge
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1684
Alma Delia ALTAMIRANO-Hernandez
A208 580 692 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
        Case
          1:18-po-01684
              1:18-cv-01458
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                                                           Page 17
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                                                                       1 of 1
                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01684
                                                    Magistrate Judge Ignacio Torteya III

Alma Delia Altamirano−Hernandez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01685
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1685
Diego Raul ORTIZ-Lopez
A209 151 208 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
        Case
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01685
                                                    Magistrate Judge Ignacio Torteya III

Diego Raul Ortiz−Lopez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1687
Samuel ORTIZ-Escamilla
A209 151 212 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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        Case
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01687
                                                    Magistrate Judge Ignacio Torteya III

Samuel Ortiz−Escamilla
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01688
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1688
Rosario Vladimir JUAREZ-Sierra
A208 293 836 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 01, 2018          in                  Hidalgo                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 1, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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          1:18-po-01688
              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01688
                                                    Magistrate Judge Ignacio Torteya III

Rosario Vladimir Juarez−Sierra
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01689
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1689
Deysi De Los Angeles ESTRADA-Orellana
A215 716 426 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 10, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on June 10, 2018. The defendant is a citizen of El Salvador who entered
the United States illegally by wading across the Rio Grande River near Brownsville, Texas on June 10, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                                Plaintiff

v.                                                               Case No.:
                                                                 1:18−po−01689
                                                                 Magistrate Judge Ignacio
                                                                 Torteya III

Deysi De Los Angeles Estrada−Orellana
                                                Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.

DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01690
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1690
Luis Alfredo ALTAMIRANO-Hernandez
A215 761 303 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Gamez Jr, Leoncio Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Gamez Jr, Leoncio          Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                        Plaintiff

v.                                                  Case No.: 1:18−po−01690
                                                    Magistrate Judge Ignacio Torteya III

Luis Alfredo Altamirano−Hernandez
                                        Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
                     Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1691
Elmer John GOMEZ-Argueta
A215 716 436 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 10, 2018          in                 Cameron                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by wading across the Rio Grande River near Brownsville, Texas on June 10, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Rodriguez, Julio M. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Rodriguez, Julio M.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01691
                                                    Magistrate Judge Ignacio Torteya III

Elmer John Gomez−Argueta
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1692
Jose Samuel AVALOS-Erazo
 A209 908 200 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                  Hidalgo                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by wading across the Rio Grande River near Hidalgo, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Gamez Jr, Leoncio Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Gamez Jr, Leoncio          Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01692
                                                    Magistrate Judge Ignacio Torteya III

Jose Samuel Avalos−Erazo
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01693
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1693
Juvenal PINEDA-Murillo
 A215 761 300 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about           June 03, 2018         in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by wading across the Rio Grande River near Hidalgo, Texas on June 3, 2018 thus avoiding immigration
inspection.

Defendant had no funds at time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Rodriguez, Julio M. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Rodriguez, Julio M.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
        Case
          1:18-po-01693
              1:18-cv-01458
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                                                                       1 of 1
                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01693
                                                    Magistrate Judge Ignacio Torteya III

Juvenal Pineda−Murillo
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                        Page 34
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1694
Dania Marleny PEREZ-Recinos
A215 716 435 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 10, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 10, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Gamez Jr, Leoncio Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Gamez Jr, Leoncio          Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01694
                                                    Magistrate Judge Ignacio Torteya III

Dania Marleny Perez−Recinos
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                        Page 36
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1695
Carlos Jose SANCHEZ-Gonzales
A215 761 304 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about           June 03, 2018         in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by wading across the Rio Grande River near Hidalgo, Texas on June 3, 2018 thus avoiding immigration
inspection.

Defendant had no funds at time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Rodriguez, Julio M. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Rodriguez, Julio M.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01695
                                                    Magistrate Judge Ignacio Torteya III

Carlos Jose Sanchez−Gonzales
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1696
Olman Daniel MORALES-Herrera
A215 761 301 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding
immigration inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Gamez Jr, Leoncio Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Gamez Jr, Leoncio          Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01696
                                                    Magistrate Judge Ignacio Torteya III

Olman Daniel Morales−Herrera
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1697
Francisco Jesus ORTIZ-Escamilla
A215 761 302 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Norias, Texas on June 10, 2018. The defendant is a citizen of Mexico who entered the United
States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 3, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Gamez Jr, Leoncio Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Gamez Jr, Leoncio          Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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              1:18-cv-01458
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01697
                                                    Magistrate Judge Ignacio Torteya III

Francisco Jesus Ortiz−Escamilla
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1698
Victor Manuel ROMERO-Mendoza
A215 716 438 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                 Cameron                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Brownsville, Texas on June 11, 2018 thus avoiding
immigration inspection.

Defendant had $20.00 Mexican Pesos at time of arrest.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.

Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Rodriguez, Julio M. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Rodriguez, Julio M.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01698
                                                    Magistrate Judge Ignacio Torteya III

Victor Manuel Romero−Mendoza
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01699
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1699
Romualdo NERI-Demetrio
A215 760 949 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 10, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 10, 2018 thus avoiding immigration
inspection.

Defendant had $5,100 Mexican Pesos at the time if arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01699
                                                    Magistrate Judge Ignacio Torteya III

Romualdo Neri−Demetrio
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1700
Edgar BARTOLON-Gonzalez
A215 760 951 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 10, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by swimming across the Rio Grande River near Roma, Texas on June 10, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01700
                                                    Magistrate Judge Ignacio Torteya III

Edgar Bartolon−Gonzalez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01701
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AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1701
Marina Del Carmen DIAZ
A216 569 191 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 09, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of El Salvador who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 9, 2018 thus avoiding immigration
inspection.

Defendant had $50 Mexican Pesos at the time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01701
                                                    Magistrate Judge Ignacio Torteya III

Marina Del Carmen Diaz
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1703
Cristian Rene RODRIGUEZ-Cruz
A215 760 957 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          May 09, 2018           in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on May 9, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01703
                                                    Magistrate Judge Ignacio Torteya III

Cristian Rene Rodriguez−Cruz
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1704
Ever Alexander GUARDADO-Cruz
A215 760 950 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 07, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by floating across the Rio Grande River near Roma, Texas on June 7, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
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AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1705
Carlos Roberto RAMIREZ-Aguilar
A215 760 952 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 08, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Roma, Texas on June 11, 2018. The defendant is a citizen of El Salvador who entered the
United States illegally by floating across the Rio Grande River near Roma, Texas on June 8, 2018 thus avoiding immigration
inspection.

Defendant had $20 US dollars at the time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01705
                                                    Magistrate Judge Ignacio Torteya III

Carlos Roberto Ramirez−Aguilar
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1706
Raul SEGUNDO-Lopez
A215 761 308 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Mission, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had $20 Mexican Pesos at the time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01706
                                                    Magistrate Judge Ignacio Torteya III

Raul Segundo−Lopez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1707
Cristian LOPEZ-Gonzalez
A215 761 306 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01707
                                                    Magistrate Judge Ignacio Torteya III

Cristian Lopez−Gonzalez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1708
Elbin PEREZ-Lopez
A201 291 332 Guatemala




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on June 11, 2018. The defendant is a citizen of Guatemala who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01708
                                                    Magistrate Judge Ignacio Torteya III

Elbin Perez−Lopez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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                                                                        Page 62
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                                                                                of 79
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AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1709
Octaviano DE LA CRUZ-Perez
A215 761 307 Guatemala




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on June 11, 2018. The defendant is a citizen of Guatemala who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had $500 Quetzales at the time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01709
                                                    Magistrate Judge Ignacio Torteya III

Octaviano De La Cruz−Perez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1710
Candido ARANDA-Reyes
A089 005 046 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Mcallen, Texas on June 11, 2018. The defendant is a citizen of Mexico who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01710
                                                    Magistrate Judge Ignacio Torteya III

Candido Aranda−Reyes
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1711
Fredy Antonio CASTRO-Ruiz
A215 760 961 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 09, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of El Salvador who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 9, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01711
                                                    Magistrate Judge Ignacio Torteya III

Fredy Antonio Castro−Ruiz
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                        Page 68
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1712
Jose Francisco ALMENDARES-Alvarado
 A215 761 305 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Mcallen, Texas on June 11, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                        Plaintiff

v.                                                   Case No.: 1:18−po−01712
                                                     Magistrate Judge Ignacio Torteya III

Jose Francisco Almendares−Alvarado
                                        Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                        Page 70
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                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1713
Jose Maria HERNANDEZ
 A215 760 958 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 03, 2018          in                  Hidalgo                 County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of El Salvador who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 3, 2018 thus avoiding immigration
inspection.

Defendant had $50 Mexican Pesos and $5 US dollars.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01713
                                                    Magistrate Judge Ignacio Torteya III

Jose Maria Hernandez
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                                                                        Page 72
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1714
Leibin Victoria INTERIANO-Morales
A215 760 953 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 06, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 6, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01714
                                                    Magistrate Judge Ignacio Torteya III

Leibin Victoria Interiano−Morales
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
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                       1:18-po-01715
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                                                                        Page 74
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1715
Jonathan Rocael IXCOY-Diaz
 A215 760 955 Guatemala




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 08, 2018          in                       Starr               County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of Guatemala who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 8, 2018 thus avoiding immigration
inspection.

Defendant had no money.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Davila, Carlos Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Davila, Carlos         Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
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        Case
          1:18-po-01715
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                                                           Page 75
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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01715
                                                    Magistrate Judge Ignacio Torteya III

Jonathan Rocael Ixcoy−Diaz
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
                     Case
                       1:18-po-01716
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                                                                        Page 76
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                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                               AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1716
Silvia Santos LOPEZ-De Beltran
A215 760 954 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 08, 2018          in                       Starr              County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Edinburg, Texas on June 11, 2018. The defendant is a citizen of El Salvador who entered the
United States illegally by rafting across the Rio Grande River near Roma, Texas on June 8, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes              No


                                                                              /S/ Perez1, Juan J. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Perez1, Juan J.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
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                                                           Page 77
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                                                                       1 of 1
                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01716
                                                    Magistrate Judge Ignacio Torteya III

Silvia Santos Lopez−De Beltran
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                  Case
                     Case
                       1:18-po-01717
                           1:18-cv-01458
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                                                              06/20/18
                                                                 on 06/12/18
                                                                        Page 78
                                                                             Page
                                                                                of 79
                                                                                    1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-1717
Yony Rafael RUBI-Pineda
A077 530 055 Honduras




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about          June 11, 2018          in                  Hidalgo                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on June 11, 2018. The defendant is a citizen of Honduras who entered the
United States illegally by rafting the Rio Grande River near Hidalgo, Texas on June 11, 2018 thus avoiding immigration
inspection.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.




Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

June 12, 2018                                                          at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
     Case
        Case
          1:18-po-01717
              1:18-cv-01458
                          Document
                             Document
                                   3 Filed
                                      1-6 in
                                           Filed
                                              TXSD
                                                 06/20/18
                                                    on 06/12/18
                                                           Page 79
                                                                Page
                                                                   of 79
                                                                       1 of 1
                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 12, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01717
                                                    Magistrate Judge Ignacio Torteya III

Yony Rafael Rubi−Pineda
                                       Defendant



                                       JUDGMENT


       On 6/12/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/12/18.
                                 Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 1 of 16




345 Park Blvd
Itasca, IL 60143
Phone: 630/626-6000
Fax: 847/434-8000
E-mail: kidsdocs@aap.org            June 15, 2018
www.aap.org



                                    I provide this declaration based on my personal knowledge.
Executive Committee
                                       1. Attached to this declaration is a true and correct copy of the American
President
Colleen A. Kraft, MD, FAAP                 Academy of Pediatrics Policy on Family Detention, April 2017. Pursuant
President-Elect
                                           to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
Kyle Yasuda, MD, FAAP                      true and correct.
Immediate Past President
Fernando Stein, MD, FAAP

CEO/Executive Vice
President (Interim)
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    Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 2 of 16




                        Detention of Immigrant Children
Julie M. Linton, Marsha Griffin, Alan J. Shapiro and COUNCIL ON COMMUNITY
                                   PEDIATRICS
              Pediatrics; originally published online March 13, 2017;
                           DOI: 10.1542/peds.2017-0483



 The online version of this article, along with updated information and services, is
                        located on the World Wide Web at:
                  /content/early/2017/03/09/peds.2017-0483.full.html




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                  Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 3 of 16




                               POLICY STATEMENT               Organizational Principles to Guide and Define the Child Health
                                                              Care System and/or Improve the Health of all Children




                               Detention of Immigrant Children
                               Julie M. Linton, MD, FAAP,a Marsha Grifﬁn, MD, FAAP,b Alan J. Shapiro, MD, FAAP,c COUNCIL ON COMMUNITY PEDIATRICS




Immigrant children seeking safe haven in the United States, whether                           abstract
arriving unaccompanied or in family units, face a complicated evaluation and
legal process from the point of arrival through permanent resettlement in
communities. The conditions in which children are detained and the support
                                                                                             aDepartment
services that are available to them are of great concern to pediatricians and                             of Pediatrics, Wake Forest School of Medicine, Winston-
                                                                                             Salem, North Carolina; bDepartment of Pediatrics, University of
other advocates for children. In accordance with internationally accepted                    Texas Rio Grande Valley School of Medicine, Harlingen, Texas; and
                                                                                             cDepartment of Pediatrics, Albert Einstein College of Medicine,
rights of the child, immigrant and refugee children should be treated with                   Children’s Hospital at Monteﬁore, Bronx, New York
dignity and respect and should not be exposed to conditions that may harm
                                                                                             Drs Linton, Grifﬁn, and Shapiro collectively drafted, critically revised,
or traumatize them. The Department of Homeland Security facilities do not                    and reviewed this policy.
meet the basic standards for the care of children in residential settings. The               This document is copyrighted and is property of the American
recommendations in this statement call for limited exposure of any child to                  Academy of Pediatrics and its Board of Directors. All authors have
                                                                                             ﬁled conﬂict of interest statements with the American Academy
current Department of Homeland Security facilities (ie, Customs and Border                   of Pediatrics. Any conﬂicts have been resolved through a process
                                                                                             approved by the Board of Directors. The American Academy of
Protection and Immigration and Customs Enforcement facilities) and for                       Pediatrics has neither solicited nor accepted any commercial
longitudinal evaluation of the health consequences of detention of immigrant                 involvement in the development of the content of this publication.
children in the United States. From the moment children are in the custody                   Policy statements from the American Academy of Pediatrics beneﬁt
                                                                                             from expertise and resources of liaisons and internal (AAP) and
of the United States, they deserve health care that meets guideline-based                    external reviewers. However, policy statements from the American
standards, treatment that mitigates harm or traumatization, and services                     Academy of Pediatrics may not reﬂect the views of the liaisons or the
                                                                                             organizations or government agencies that they represent.
that support their health and well-being. This policy statement also provides
                                                                                             The guidance in this statement does not indicate an exclusive course
speciﬁc recommendations regarding postrelease services once a child                          of treatment or serve as a standard of medical care. Variations, taking
is released into communities across the country, including a coordinated                     into account individual circumstances, may be appropriate.
system that facilitates access to a medical home and consistent access to                    All policy statements from the American Academy of Pediatrics
                                                                                             automatically expire 5 years after publication unless reafﬁrmed,
education, child care, interpretation services, and legal services.                          revised, or retired at or before that time.

                                                                                             DOI: 10.1542/peds.2017-0483

                                                                                             Address correspondence to Julie M. Linton, MD, FAAP. E-mail: jlinton@
                                                                                             wakehealth.edu
INTRODUCTION
                                                                                             PEDIATRICS (ISSN Numbers: Print, 0031-4005; Online, 1098-4275).
Communities nationwide have become homes to immigrant and refugee                            Copyright © 2017 by the American Academy of Pediatrics
children who have fled countries across the globe.1 However, in the                          FINANCIAL DISCLOSURE: The authors have indicated they have no
dramatic increase in arrivals that began in 2014 and continues at the                        ﬁnancial relationships relevant to this article to disclose.
time of writing this policy statement, more than 95% of undocumented                         FUNDING: No external funding.
children have emigrated from Guatemala, Honduras, and El Salvador
(the Northern Triangle countries of Central America), with much smaller
numbers from Mexico and other countries. Most of these undocumented                            To cite: Linton JM, Grifﬁn M, Shapiro AJ, AAP COUNCIL ON
                                                                                               COMMUNITY PEDIATRICS. Detention of Immigrant Children.
children cross into the United States through the southern border.2
                                                                                               Pediatrics. 2017;139(5):e20170483
Unprecedented violence, abject poverty, and lack of state protection


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                    Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 4 of 16



of children and families in Central             child is considered unaccompanied.10        deportation of unaccompanied
America are driving an escalation               After processing, unaccompanied             children and for their care and
of migration to the United States               immigrant children are placed in            custody while they were in the
from Guatemala, Honduras, and El                shelters or other facilities operated       United States. In 1997, after
Salvador.3,4 Children, unaccompanied            by the US Department of Health              more than a decade of litigation
and in family units, seeking safe               and Human Services (HHS) Office             responding to unjust treatment of
haven* in the United States often               of Refugee Resettlement (ORR),              unaccompanied children in the care
experience traumatic events in                  and the majority are subsequently           of the INS, the government entered
their countries of origin, during the           released to the care of community           into a settlement agreement, still in
journeys to the United States, and              sponsors (parents, other adult              force today, for the care of children.17
throughout the difficult process                family members, or nonfamily                The Flores Settlement Agreement
of resettlement.5,6 In fiscal year              individuals) throughout the country         set strict national standards for the
(FY) 2014, Customs and Border                   for the duration of their immigration       detention, treatment, and release
Protection (CBP) detained 68 631                cases.11 Children detained with a           of all minors detained in the legal
unaccompanied children and                      parent or legal guardian are either         custody of the INS. It requires
another 68 684 children in family               repatriated back to their home              that children be held in the least
units7 (a child with parent[s] or               countries under expedited removal           restrictive setting appropriate for
legal guardian[s]). In response to              procedures, placed in Immigration           a child’s needs and that they be
these numbers, the US government                and Customs Enforcement (ICE)               released without unnecessary delay
implemented a media campaign                    family residential centers, or released     to a parent, designate of the parent,
in Central America and increased                into the community to await their           or responsible adult as deemed
immigration enforcement at the                  immigration hearings.12                     appropriate.17,18
southern border of Mexico in
                                                Pediatricians who care for previously       After September 11, 2001, the
an effort to deter immigration.8
                                                detained immigrant children                 Homeland Security Act of 2002
Yet despite decreasing numbers
                                                in communities throughout the               attempted to resolve the conflict
of unaccompanied children and
                                                United States should be aware of            of interest between the dual role
children in family units attempting
                                                the traumatic events these children         of the INS as both a prosecutor
to emigrate to the United States in
                                                have invariably experienced to              and caretaker of unaccompanied
FY 2015, another significant increase
                                                better understand and address their         children.19 That law divided the
of both groups began in FY 2016,
                                                complex medical, mental health,             functions of the former INS between
with 59 692 unaccompanied children
                                                and legal needs. Pediatricians also         the DHS and HHS (Fig 1). Under
and 77 674 family units detained in
                                                have an opportunity to advocate             the DHS, CBP and ICE are charged
FY 2016.2 Interviews with children
                                                for the health and well-being of            with border control and homeland
in detention from Mexico and the
                                                vulnerable immigrant children. This         security.20,21 The care and custody
Northern Triangle Countries revealed
                                                policy statement applies principles         of unaccompanied immigrant
that 58% had fear sufficient to merit
                                                established by numerous previous            children were transferred to the
protection under international law,4
                                                statements, including care of               HHS Administration for Children
and in another survey, 77% reported
                                                immigrant children,13 toxic stress,14       and Families, specifically the ORR.
violence as the main reason for
                                                and social determinants of health,15        The responsibility of the ORR is to
fleeing their country.9
                                                to the specific topic of detention of       promote the well-being of children
Children first detained at the time             immigrant children.                         and families, including refugees and
of entry to the United States,                                                              migrants.22
whether they are unaccompanied
or in family units, are held by the             HISTORY
Department of Homeland Security                                                             CURRENT PRACTICE AND
(DHS) in CBP processing centers.10,11           In the 1980s, the United States
                                                                                            TERMINOLOGY
If an accompanying adult cannot                 experienced a dramatic increase
verify that he or she is the biological         in numbers of migrant children              Noncitizen children younger than
parent or legal guardian, this adult            fleeing Central America as a result         18 years are processed through
is separated from the child, and the            of civil wars in those countries.16         the immigration system in several
                                                At that time, the Immigration               ways depending on where they are
                                                and Naturalization Service (INS),           first detained, whether they are
*The term safe haven encompasses the diverse
                                                under the Department of Justice,            accompanied or unaccompanied by
immigration statuses that may be pursued and
acknowledges the humanitarian needs of those    was responsible for enforcing the           a parent, and whether they come
seeking relief.                                 immigration law and seeking the             from a contiguous or noncontiguous


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                     Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 5 of 16




FIGURE 1
Restructuring of INS after September 11, 2001.19 (The Anti-Trafﬁcking in Persons Organization is now called the Ofﬁce on Trafﬁcking in Persons, and the
Division of Unaccompanied Children’s Services is now called the Division of Children’s Services.) Reproduced with permission: Byrne O, Miller E. The Flow
of Unaccompanied Children Through the Immigration System. New York, NY: Vera Institute of Justice; 2012:7


country. An unaccompanied                           children as part of a family unit.11                 Specifically, CBP must screen a child
alien child, referred to as an                      Most children who come into                          from Mexico or Canada to ensure
unaccompanied immigrant child                       immigration custody are first                        that the child is not a potential
in this policy statement, is defined                detained at the border; a smaller                    victim of trafficking, has no possible
by the Homeland Security Act                        number are apprehended within                        claim to asylum, and can and does
as a child who “has no lawful                       the country (ie, more than 100                       voluntarily accept return. If a child
immigration status in the United                    miles away from a border), known                     from Canada or Mexico does not
States; has not attained 18 years of                as internal apprehensions.11                         have authorization to enter the
age; and with respect to whom—(i)                                                                        United States and can be returned
there is no parent or legal guardian                Lastly, the immigration process is                   safely, the child can be repatriated
in the United States; or (ii) no                    different for children who come                      without ever being placed in
parent or legal guardian in the                     from contiguous countries (most                      immigration proceedings. If any of
United States is available to provide               from Mexico and smaller numbers                      the answers to the aforementioned
care and physical custody.”11,23,24                 from Canada). When the Trafficking                   inquiries into protection concerns
A parent or legal guardian is                       Victims Protection Reauthorization                   are positive, or if no determination
considered “not available” if not                   Act (TVPRA) was passed in 2008,                      of all 3 criteria can be made within
present at the time of the child’s                  Congress mandated that CBP                           48 hours, the TVPRA mandates that
apprehension.                                       screen children from Mexico and                      the child shall “immediately” be
                                                    Canada for trafficking (child labor                  transferred to custody of ORR. Once
Accompanied children are those                      or sex) and other harms before                       transferred to ORR, Mexican and
who are detained with their parent                  allowing them to return to their                     Canadian children are treated like
or legal guardian, most often the                   countries and before they are placed                 all other unaccompanied children in
mother. DHS refers to accompanied                   in US immigration proceedings.                       detention.11,19


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PEDIATRICS Volume 139, number 4, April 2017                                                                                                            3
                       Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 6 of 16



Immigration Pathway                                  At the time of apprehension by                      periods of time, for a number of
CBP Processing Centers                               CBP, children pass through 1 or                     different reasons.
                                                     more CBP processing facilities,
When first detained at or near                                                                           At the time of entry into an
                                                     some of which provide limited
the border, both unaccompanied                                                                           ORR facility, children receive an
                                                     medical screening (eg, scabies,
children and those in family units                                                                       initial medical and mental health
                                                     lice, varicella); complete medical
are sent to CBP processing centers.
                                                     histories and physical examinations                 evaluation.29 The ORR is responsible
Each year, hundreds of thousands                                                                         for providing the children with
                                                     (including vital signs) are not
of detained people are held in these                                                                     ongoing medical and mental health
                                                     conducted. Screening is performed
processing centers along the US                                                                          care, which may be provided on or off
                                                     by a variety of nonmedical and
southern border.10 By law, under                                                                         site, while in custody. Pediatricians
                                                     medical personnel, such as border
the Homeland Security Act of 2002                                                                        caring for previously detained
                                                     patrol officers, emergency medical
and TVPRA of 2008, unaccompanied                                                                         children released into communities
                                                     technicians, nurse practitioners, or
immigrant children must be moved                                                                         can access the American Academy of
                                                     physician assistants.¶ Children with
to ORR custody within 72 hours.24,25                                                                     Pediatrics (AAP) Immigrant Health
                                                     medical problems beyond the scope
Processing centers are secure                                                                            Toolkit (https://www.aap.org/
                                                     of aforementioned personnel are
facilities of various sizes with locked                                                                  en-us/about-the-aap/Committees-
                                                     taken to a local hospital emergency
enclosures to detain children and                                                                        Councils-Sections/Council-on-
                                                     department.**
families; the largest, in McAllen,                                                                       Community-Pediatrics/Pages/
Texas, currently has a capacity                      At the time of release from CBP                     Immigrant-Child-Health-Toolkit.
of 1000.† Reports by advocacy                        processing centers, the immigration                 aspx) for more comprehensive
organizations, including interviews                  pathway diverges for unaccompanied                  guidelines (eg, universal hearing
with detainees and the DHS Office of                 immigrant children and children                     and sexual health screenings)30 and
Inspector General,26 have cataloged                  accompanied by a parent or legal                    can ask the child or sponsor for the
egregious conditions in many of the                  guardian.                                           medical records, provided to each
centers, including lack of bedding                   ORR Children Shelters: Unaccompanied                child at the time of release from the
(eg, sleeping on cement floors),                     Immigrant Children                                  shelter, or request records (including
open toilets, no bathing facilities,                                                                     vaccinations and tuberculosis testing)
                                                     ORR contracts with a network of
constant light exposure, confiscation                                                                    from the ORR Web site (https://
                                                     child welfare agencies, both nonprofit
of belongings, insufficient food                                                                         www.acf.hhs.gov/orr/resource/
                                                     and government organizations, to
and water, and lack of access to                                                                         unaccompanied-childrens-services).31
                                                     care for unaccompanied immigrant
legal counsel,10,24,‡ and a history of
                                                     children in a variety of facility                   Family Residential Centers:
extremely cold temperatures. At
                                                     types that range in size and level of               Accompanied Children
times children and families are kept
                                                     security. A small number of these
longer than 72 hours, denied access
                                                     contracts are with local foster care                Some family units are released from
to medical care and medications,
                                                     agencies.23 With more than 9200                     CBP processing centers directly
separated from one another,
                                                     beds located across the country,                    into the community to await
or physically and emotionally
                                                     these shelters have procedures                      immigration proceedings, some
maltreated.10,24,25 In processing
                                                     ensuring compliance with federal                    undergo expedited return to their
centers, children and families lack a
                                                     law regarding the care and custody                  country of origin, and others are sent
comprehensive orientation process
                                                     of immigrant children.27 Children                   to ICE-contracted family residential
that outlines procedures and possible
                                                     are provided with dormitory-style                   centers. Three family detention
time of detainment in each facility.
                                                     rooms, shared bathrooms, showers,                   centers exist nationally, including
To respond to increasing numbers
                                                     clothes, hot meals, year-round                      2 in Texas, operated by for-profit
of children and families who are first
                                                     educational services, recreational                  prison corporations (ie, GEO Group
detained in the Rio Grande Valley, a
                                                     activities, and limited legal services.             and CCA) and 1 in Pennsylvania
central processing center in McAllen,
                                                     In FY 2015, the average length of                   operated by local government (ie,
Texas has made changes to increase
                                                     stay in the program was 34 days,28                  Berks County); 2 other centers were
capacity, expedite processing, and
                                                     although some children remain in                    closed because of “dangerously
address some of these concerns.§
                                                     ORR custody for significantly longer                inadequate” conditions.32,33 The
†Personal   observations and notes from authors                                                          present total operating capacity
of this policy from an AAP delegation site visit.                                                        of the detention facilities is 3326
‡Personal observations and notes from authors        ¶Personal   observations and notes from authors
                                                                                                         beds.34 Each residential center has
of this policy from an AAP delegation site visit.    of this policy from an AAP delegation site visit.
§Personal observations and notes from authors        **Personal observations and notes from authors      staff comprising representatives from
of this policy from an AAP delegation site visit.    of this policy from an AAP delegation site visit.   their contracting organizations and


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4                                                                                                            FROM THE AMERICAN ACADEMY OF PEDIATRICS
                     Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 7 of 16



ICE employees.34 In general, multiple          rights and responsibilities, referrals      (eg, clothes, school supplies), and
families stay in dormitory-style               to legal services, and psychosocial         acculturation difficulties.
rooms. Nearly all the family detention         supports.34 Some families may
beds are for mothers with children             benefit from case management,34             Release of Children Into the Community:
younger than 18 years, and 1 facility          which is cost-effective11 and can           Family Units
(Berks County) accepts fathers.35 An           increase the likelihood of compliance       Family units arriving together at the
August 2015 ruling by a California             with government requirements.33             US border are currently placed into
US District Court in a case brought            Alternatives to detention may better        “expedited removal proceedings,”
against DHS, Flores v Johnson, found           allow families to identify legal            which means that the adult must
that family detention centers are in           services and seek proper medical            pass a “credible fear interview”
violation of the Flores Settlement             and mental health care that can             or, in some cases, a “reasonable
Agreement.36 The court did not                 importantly contribute to winning           fear interview” (for families with
exclude children in family units from          asylum cases.46                             previous orders of removal from the
the requirement that children be held                                                      United States) before a US Customs
in the least restrictive environments.         Release of Children Into the Community:     and Immigration Service officer to
Despite this order, children continue          Unaccompanied Immigrant Children
                                                                                           establish a basis for the presence
to be detained, and even with shorter          Before release, the ORR seeks to            of persecution or torture. If the
lengths of stay, some were still found         reunite an unaccompanied immigrant          interview is passed, families may be
to suffer traumatic effects.32,37              child with a sponsor, preferably            released from the detention center
                                               a parent or other family member.            on bond or released under other
Care of children held in detention
                                               Sponsors must be considered suitable        conditions, such as being required to
centers is subject to the standards
                                               for caring for a child and go through       wear an electronic monitor, but only
outlined on the ICE Web site.38,39
                                               background checks, occasionally             for the duration of their immigration
Limited medical, dental, and mental
                                               including home visits.11,23,24              case. If they do not pass the credible
health services are provided by
                                               Most children are released to parents       fear or reasonable fear interview
the prison corporations in the
                                               or other family members; in some            or a judge concurs with a negative
Texas facilities and through public
                                               cases, the sponsor may be someone           “fear” decision, they will be removed
health services in Pennsylvania.38,39
                                               the child does not know well or at all.     from the United States.39 Currently,
Detention centers also rely on nearby
                                               The ORR must approve the child’s            more than 75% of families held
emergency departments and tertiary
                                               release, but in almost all cases, the       in family residential centers pass
care centers for the treatment of
                                               sponsor is financially responsible for      their “credible fear” or “reasonable
medical and mental health conditions
                                               transportation and other expenses           fear” interviews or are successful in
beyond their scope. Visits to family
                                               incurred.47 Some children receive           appealing adverse decisions after
detention centers in 2015 and 2016
                                               limited postrelease services from           retaining an attorney, meaning that
by pediatric and mental health
                                               nongovernment organizations                 most have a right to seek protection
advocates revealed discrepancies
                                               funded by ORR. These services are           in the United States.34,50 Families
between the standards outlined
                                               typically provided only to children         who are granted release into
by ICE and the actual services
                                               whose release followed a home               communities pending immigration
provided, including inadequate
                                               study, required for certain children        proceedings may be taken to nearby
or inappropriate immunizations,
                                               under TVPRA, including those who            bus terminals or local churches
delayed medical care, inadequate
                                               have histories of abuse or trafficking      but must independently navigate
education services, and limited
                                               or those with disabilities.48,49            reunification with family members
mental health services.40–45
                                               Most children released from the             across the country. Families must
Alternatives to detention offer                ORR do not qualify for Medicaid,            also find attorneys to represent
opportunities to respond to families’          the Children’s Health Insurance             them in their immigration cases,
needs in the community as their                Program, or other state and federal         which will continue until they appear
immigration cases proceed. For                 public benefit programs. Other              for an asylum hearing before an
most families, release into the                important stressors may also arise          immigration judge or pursue some
community allows families to live              once the child has been placed with         other immigration benefit (such
their lives as normally as possible.34         a sponsor, including relationship           as a visa for trafficking victims).
In the setting of community-based              conflicts between child and sponsor         These families must rely on family
alternatives to detention, many                or other household members, school          members living in the United States
families are able to comply with               enrollment and other educational            for assistance or incur their own
immigration proceedings when they              challenges, food insecurity, housing        travel and legal expenses. Many adult
are provided information about                 insecurity, other financial strain          members of family units have been


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PEDIATRICS Volume 139, number 4, April 2017                                                                                      5
                 Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 8 of 16



released into the community with           concluded that even brief detention         and desperation were intensified
electronic monitors to ensure that         can cause psychological trauma and          by detention center practices that
their whereabouts can be tracked.33        induce long-term mental health risks        created communication barriers with
                                           for children.51                             the outside world (eg, expensive
Impact of Detention on Child and Family                                                telephone service and lack of Internet
Health                                     Studies of adults in detention have
                                                                                       services). Additionally, detainees
                                           demonstrated negative physical
                                                                                       reported being anxious about the
Detention of children is a global issue    and mental health effects that
                                                                                       lack of access to legal advocates.33,68
condemned by respected human               can reasonably be applied to
rights and professional organizations      adult members of detained family            After almost a year of investigation,
both within and beyond US                  units. For instance, detained adult         the DHS Advisory Committee on
borders.11,32,33,51 Moreover, the          asylum seekers suffered from                Family Residential Centers ultimately
United Nations Convention on the           musculoskeletal, gastrointestinal,          made this recommendation34:
Rights of the Child, an internationally    respiratory, and neurologic                 DHS’s immigration enforcement practices
recognized legal framework for the         symptoms.61 They also commonly              should operationalize the presumption
protection of children’s basic rights      experienced anxiety, depression,            that detention is generally neither
(ratified by every country in the          posttraumatic stress disorder,              appropriate nor necessary for families—
world except for the United States),       difficulty with relationships, and self-    and that detention or the separation of
                                                                                       families for purposes of immigration
emphasizes freedom from arbitrary          harming behavior.62–66 Detention            enforcement or management are never in
arrest and detention (Article 37),         itself undermines parental authority        the best interest of children.
the provision of special protection        and capacity to respond to their
to children seeking asylum (Article        children’s needs; this difficulty is
22), humane and appropriate                complicated by parental mental              THE ROLE OF PEDIATRICIANS IN THE
treatment of children in detention         health problems.56,67 Although data         COMMUNITY
(Article 37), and guidelines regarding     are limited regarding the effects of
maintaining family unity (Article                                                      Awareness of the immigration
                                           a short detention time on the health
9).52 The AAP has endorsed this                                                        pathway, conditions in detention
                                           of children, there is no evidence
human rights treaty as an important                                                    facilities, and medical care during
                                           indicating that any time in detention
legal instrument.53 US state court                                                     detention can help community
                                           is safe for children.
proceedings and the United Nations                                                     pediatricians provide sensitive
Convention on the Rights of the Child      In the United States, reports from          and targeted care based on AAP
underscore the “best interests of          human rights groups and other child         recommendations (https://www.
the child,” including safety and well-     advocates, including pediatricians,         aap.org/en-us/about-the-aap/
being, the child’s expressed interests,    corroborate the deleterious                 Committees-Councils-Sections/
health, family integrity, liberty,         effects of detention found in the           Council-on-Community-Pediatrics/
development (including education),         aforementioned studies.33,35,41–44          Pages/Immigrant-Child-Health-
and identity.54                            These reports describe prisonlike           Toolkit.aspx) for newly arrived
                                           conditions; inconsistent access to          immigrant children30 and Centers
Studies of detained immigrants,            quality medical, dental, or mental          for Disease Control and Prevention
primarily from abroad, have found          health care; and lack of appropriate        refugee health guidelines.69 Many
negative physical and emotional            developmental or educational                of these children have never had
symptoms among detained                    opportunities.11,33,35,62 Parents           access to a medical home or regular
children,55–57 and posttraumatic           interviewed for these reports               primary care surveillance. A trauma-
symptoms do not always disappear           described regressive behavioral             informed approach acknowledges
at the time of release.56 Young            changes in their children, including        the impact of trauma and potential
detainees may experience                   decreased eating, sleep disturbances,       paths for recovery, recognizes
developmental delay58 and poor             clinginess, withdrawal, self-injurious      signs and symptoms of trauma,
psychological adjustment, potentially      behavior, and aggression.33,44 Parents      responds by integrating knowledge
affecting functioning in school.59         exhibited depression, anxiety, loss         into the system of care, and resists
Qualitative reports about detained         of locus of control, and a sense of         retraumatization.70–72 Trauma-
unaccompanied immigrant children           powerlessness and hopelessness.44,68        informed care is essential for medical,
in the United States found high rates      Parents often faced difficulty              mental health, and community-based
of posttraumatic stress disorder,          parenting their children and                services. Unfortunately, access
anxiety, depression, suicidal ideation,    subsequently experienced strained           to postrelease services is limited,
and other behavioral problems.60           parent–child relationships.44               because lack of legal status leaves
Additionally, expert consensus has         Detained families’ sense of isolation       immigrant children ineligible for


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6                                                                                          FROM THE AMERICAN ACADEMY OF PEDIATRICS
                       Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 9 of 16



most public benefits. Most states                       of abuse, neglect, abandonment,             place them in family detention was
do not provide health care benefits                     persecution, trafficking, or violence       intended, in part, to send a message
to children of undocumented                             may be disclosed to clinicians but          of deterrence abroad.8 It is the
immigration status.73,†† However, by                    not lawyers because of fear or              position of the AAP that children in
law children have the right to a free,                  shame. Furthermore, victims of              the custody of their parents should
public education without regard to                      labor or child sex trafficking and          never be detained, nor should they
immigration status.74 Pediatricians                     commercial sexual exploitation              be separated from a parent, unless a
can make families aware that newly                      of children rarely self-identify.           competent family court makes that
arrived children are entitled to a free                 When assessing the trauma history           determination. In every decision
education and direct them to local                      of previously detained children,            about children, government decision-
public school districts for enrollment.                 pediatricians may identify concerns         makers should prioritize the best
By facilitating access to legal                         for trafficking77 and subsequently          interests of the child.54
representation through screening                        facilitate needed medical and mental
                                                                                                    The following recommendations
and referral, pediatricians may                         health care and initiate referrals to
                                                                                                    pertain to handling of immigrant
ultimately increase access to health                    law enforcement, child protective
                                                                                                    children, including their health care,
care once the immigrant child                           services, and legal services.78
                                                                                                    while they are in custody:
has lawful status. Furthermore,                         Children who are identified as
                                                        victims of trafficking may be eligible      • Treat all immigrant children and
pediatricians may provide key
                                                        for a T visa, and children who are            families seeking safe haven who
evidence used by attorneys to
                                                        victims of crimes in this country,            are taken into US immigration
assist in children’s immigration
                                                        including exposure to domestic                custody with dignity and respect to
cases. By some estimates, nearly
                                                        violence, may be eligible for a U visa        protect their health and well-being.
45% of unaccompanied children in
deportation proceedings do not have                     if they are willing to cooperate with       • Eliminate exposure to conditions
attorneys in immigration court.75                       law enforcement. Trauma-focused               or settings that may retraumatize
Not surprisingly, children without                      treatment can facilitate disclosure           children, such as those that
counsel are far more likely to be                       of painful histories to children’s            currently exist in detention, or
deported, regardless of the merits                      lawyers and judges, thereby                   detention itself.
of their case or the dangers to which                   improving chances for winning legal
                                                        relief. By referring children for legal     • Separation of a parent or primary
they would return.76 The complexity
                                                        services and providing affidavits             caregiver from his or her children
of immigration law makes it all the
                                                        or court testimonies, pediatricians           should never occur, unless
more imperative for practitioners
                                                        can directly advocate on behalf               there are concerns for safety of
who care for immigrant children and
                                                        of children facing immigration                the child at the hand of parent.
youth to have a referral network of
                                                        proceedings.                                  Efforts should always be made to
legal experts (preferably nonprofit
                                                                                                      ensure that children separated
or pro bono) with whom they work
                                                                                                      from other relatives are able to
closely.
                                                                                                      maintain contact with them during
A basic understanding of the                            RECOMMENDATIONS
                                                                                                      detention.
different forms of legal relief can help
                                                        Pediatricians have the opportunity          • While in custody, unaccompanied
pediatricians collect key medical and
                                                        to advocate for systems that mitigate         children and family units should
psychosocial histories and clinical
                                                        trauma and protect the health and             be provided with child-friendly
evidence that may be used to support
                                                        well-being of vulnerable immigrant            orientation and regular updates
legal claims by children seeking
                                                        children. Children, especially those          regarding their current status,
safe haven. The most common legal
                                                        who have been exposed to trauma               expectations, and rights.
statuses pursued by previously
                                                        and violence, should not be placed
detained children include special                                                                   • Because conditions at CBP
                                                        in settings that do not meet basic
immigrant juvenile status, asylum,                                                                    processing centers are inconsistent
                                                        standards for children’s physical
and what are often referred to as                                                                     with AAP recommendations for
                                                        and mental health and that expose
visas for victims of trafficking (T visa)                                                             appropriate care and treatment of
                                                        children to additional risk, fear, and
or serious crimes (U visa).11 Histories                                                               children, children should not be
                                                        trauma. Until the unprecedented
                                                                                                      subjected to these facilities.
                                                        2014 increase in Central American
††At the time of writing this policy statement, only
                                                        migration, children detained with           • Processing of children and family
5 states (New York, Massachusetts, Washington,
                                                        a parent or legal guardian were               units should occur in a child-
Illinois, and California) and the District of
Columbia provided health care beneﬁts to all            released into the community. The              friendly manner, taking place
children regardless of immigration status.              government’s decision in 2014 to              outside current CBP processing


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PEDIATRICS Volume 139, number 4, April 2017                                                                                                  7
                   Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 10 of 16



    centers or conducted by child                throughout the immigration                 health care and insurance
    welfare professionals, to provide            pathway.                                   coverage, which includes the
    conditions that emphasize the             • Recreational and social enrichment          right to access qualified medical
    health and well-being of children            activities, such as opportunities          interpretation covered by medical
    and families at this critical stage of       for physical activity and creative         benefits, pending immigration
    immigration proceedings.                     expression, may alleviate stress           proceedings.
• DHS should discontinue the general             and foster resiliency and should be      • Children not connected to medical
    use of family detention and instead          part of any program for detained           homes may first present to
    use community-based alternatives             children. At a minimum, outdoor            nonprimary care settings. Pediatric
    to detention for children held in            and major muscle activity should           providers and staff in these
    family units.                                meet the minimum standards                 facilities, particularly urgent care
                                                 set by the Flores Settlement               and emergency departments, can
• Community-based case                           Agreement.                                 support referral to the medical
    management should be
    implemented for children and              • Children and families should have           home and access to comprehensive
                                                 access to legal counsel throughout         services.
    families, thus ending both
    detention and the placement of               the immigration pathway.                 • Pediatric providers can refer
    electronic tracking devices on               Unaccompanied minors should                to the AAP Immigrant Health
    parents. Government funding                  have free or pro bono legal counsel        Toolkit (https://www.aap.org/
    should be provided to support case           with them for all appearances              en-us/about-the-aap/Committees-
    management programs.                         before an immigration judge.               Councils-Sections/Council-on-
                                              • The AAP encourages longitudinal             Community-Pediatrics/Pages/
• Children, whether unaccompanied
                                                 evaluation of the health                   Immigrant-Child-Health-Toolkit.
    or accompanied, should receive
                                                 consequences of detention of               aspx) as a resource for care of
    timely, comprehensive medical
                                                 immigrant children in the United           immigrant children.
    care that is culturally and
                                                 States.
    linguistically sensitive by medical                                                   • Pediatric providers should
    providers trained to care for             Given the complex medical,                    familiarize themselves with
    children. This care should be             mental health, and legal needs                trauma-informed care and
    consistent throughout all stages          of these children, the following              promote access to comprehensive
    of the immigration processing             recommendations pertain to                    mental health evaluation in the
    pathway.                                  postrelease care of previously                community. The AAP Trauma
                                              detained immigrant children in the            Toolbox for Primary Care (https://
• Trauma-informed mental health               community. Children and families              www.aap.org/en-us/advocacy-
    screening and care are critical           need a coordinated system that                and-policy/aap-health-initiatives/
    for immigrant children seeking            facilitates access to a medical home          healthy-foster-care-america/
    safe haven. Screening should              that can address the children’s               Pages/Trauma-Guide.aspx)
    be conducted once a child is in           physical and mental health needs and          offers an accessible resource for
    the custody of US officials via a         facilitates access to education, child        pediatricians to build these skills.
    validated mental health screening         care, and legal and interpretation            Integrated behavioral health in the
    tool, with periodic rescreening,          services.                                     primary care setting is an optimal
    additional evaluation, and trauma-
    informed care available for               • The AAP advocates for expanded              model for care of immigrant
                                                 funding for postrelease services           and other vulnerable children,
    children and their parents.
                                                 to promote the safety and well-            minimizing the difficulty in
• When children are in the custody               being of all previously detained           navigating the health care system.
    of the federal government, extra             immigrant children and to                • Pediatric providers serving
    precautions must be in place to              facilitate connection and access           previously detained immigrant
    identify and protect children who            to comprehensive services,                 children should elicit specific
    have been victims of trafficking             including medical homes, in the            history of abuse, neglect,
    and to prevent recruitment of new            community. Community-based                 abandonment, persecution,
    children into the trafficking trade.         case management should be                  trafficking, or violence to
• Children should be provided with               implemented for children and               screen children for legal needs
    language-appropriate, year-round             families.                                  and subsequently refer these
    educational services, including           • All immigrant children seeking safe         children for legal services.
    special education if needed,                 haven should have comprehensive            Integrated care strategies, such as


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8                                                                                             FROM THE AMERICAN ACADEMY OF PEDIATRICS
                       Case 1:18-cv-01458 Document 1-7 Filed 06/20/18 Page 11 of 16



   medical–legal partnerships, may                            CONCLUSIONS                                             COUNCIL ON COMMUNITY PEDIATRICS
   increase connectivity. Likewise,                                                                                   EXECUTIVE COMMITTEE, 2016–2017
                                                              The AAP supports comprehensive
   immigration lawyers should have                            health care in a medical home for                       Lance A. Chilton, MD, FAAP, Chairperson
   opportunities to refer children to                                                                                 Patricia J. Flanagan, MD, FAAP, Vice-Chairperson
                                                              all children in the United States,                      Kimberley J. Dilley, MD, MPH, FAAP
   medical homes if children reach                            including all immigrant children                        James H. Duffee, MD, MPH, FAAP
   the legal system before seeking                            and those detained or otherwise                         Andrea E. Green, MD, FAAP
   medical care.                                              in the care of the state. Children                      J. Raul Gutierrez, MD, MPH, FAAP
• Pediatric practices should facilitate                       deserve protection from additional                      Virginia A. Keane, MD, FAAP
                                                                                                                      Scott D. Krugman, MD, MS, FAAP
   children’s enrollment in public                            traumatization in the United States                     Julie M. Linton, MD, FAAP
   educational services, essential to                         and the identification and treatment                    Carla D. McKelvey, MD, MPH, FAAP
   children’s development and future                          of trauma that may have occurred in                     Jacqueline L. Nelson, MD, FAAP
   well-being.                                                children’s country of origin, during
                                                              migration, or during immigration                        LIAISONS
• School facilities should be safe
                                                              processing or detention in the                          Jacqueline R. Dougé, MD, MPH, FAAP –
   settings for immigrant children to                                                                                 Chairperson, Public Health Special Interest Group
   access education. School records                           United States. The AAP endorses
                                                                                                                      Kathleen Rooney-Otero, MD, MPH – Section on
   and facilities should not be used                          the humane treatment of all                             Pediatric Trainees
   in any immigration enforcement                             immigrant children seeking safe
   action.                                                    haven in the United States, whether                     STAFF
                                                              unaccompanied or in family units,                       Tamar Magarik Haro
• No child, whether accompanied                               throughout the immigration                              Camille Watson, MS
   or unaccompanied, should ever                              pathway.
   represent himself or herself
   in court. After release into the
   community, all previously detained                                                                                   ABBREVIATIONS
   immigrant children should have                             ACKNOWLEDGMENTS                                           AAP: American Academy of
   access to legal services at no cost to                     The authors thank Jennifer                                      Pediatrics
   the child or his or her sponsor.                           Nagda, JD, of the Young Center for                        CBP: Customs and Border
• Child trafficking victims and other                         Immigrant Children’s Rights, and                                Protection
   unaccompanied children should                              Jennifer Podkul, JD, and Wendy                            DHS: Department of Homeland
   be appointed independent child                             Young, JD, of Kids in Need of Defense,                          Security
   advocates, pursuant to TVPRA, to                           for their expert contributions to this                    FY: fiscal year
   advocate for their best interests                          policy statement. The authors thank                       HHS: US Department of Health
   on all issues, including conditions                        Benard Dreyer, MD, FAAP, James                                  and Human Services
   of custody, release to family or                           Duffee, MD, FAAP, Judy Dolins, MPH,                       ICE: Immigration and Customs
   sponsors, and relief from removal.                         and Tamar Magarik Haro for critical                            Enforcement
                                                              review of multiple drafts of this                         INS: US Immigration and
• Pediatricians everywhere should                                                                                            Naturalization Service
                                                              policy statement.
   advocate for comprehensive, high-
                                                                                                                        ORR: Office of Refugee
   quality health care in a medical
                                                                                                                              Resettlement
   home for all children in the United                        LEAD AUTHORS                                              TVPRA: Trafficking Victims
   States, including all immigrant                            Julie M. Linton, MD, FAAP                                          Protection
   children and those detained or                             Marsha Grifﬁn, MD, FAAP                                            Reauthorization Act
   otherwise in the care of the state.                        Alan J. Shapiro, MD, FAAP


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                        Detention of Immigrant Children
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